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From:            ed butowsky
To:              Michael Gottlieb
Cc:              Joshua Riley; Meryl Governski
Subject:         Re: second attempt
Date:            Friday, December 7, 2018 2:36:48 PM
Attachments:     Screen Shot 2018-12-07 at 1.30.02 PM.png


Just trying to help you out. Bottom line is you are either being lied to or ....
Stop calling me a liar. It is unprofessional and it is incorrect.. DO YOUR HOMEWORK.
They were paid via Ebay.. sadly, they got caught up with something bigger than they knew at the
time.
I am communicating because when I go full throttle on discovery , if I do, I will expose everything.
I have little to no interest in this but you are pulling me in .

On 12/7/18, 10:24 AM, "Michael Gottlieb" <mgottlieb@bsfllp.com> wrote:

Mr. Butowsky,

Let's try this again. I'll cut and paste the email I sent to you below, and attach it as well. I'm not sure
how it got garbled on your computer, but what appears in your email is not what appears in my
outbox.



Mr. Butowsky,

We are well familiar with Rule 11 and have fully satisfied our obligations under it.

As of now, you have mentioned a company that you claim is called "A and R Merchandise" - which
you claim is located in Littleton, Colorado - that does not appear to exist. There is no record of an
entity with that name in any registry of Colorado corporations. Your reference to Robert Hannigan
is indecipherable without additional information. If you claim that we should investigate other facts
that would show our allegations to be false, given that you appear to be threatening us with Rule 11
sanctions, please provide that information to us so that we may conduct the investigation you are
demanding.

Regards,

Mike

Michael J. Gottlieb
Partner

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Michael J. Gottlieb
Partner
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-----Original Message-----
From: ebutowsky@gmail.com [mailto:ebutowsky@gmail.com]
Sent: Friday, December 07, 2018 11:13 AM
To: Michael Gottlieb
Cc: Joshua Riley; Meryl Governski
Subject: Re: RE: RE: RE:

Very difficult to understand. I will assume these are your thoughts.
Please resist emailing me nonsense like this.
Very unprofessional

> On Dec 7, 2018, at 10:00 AM, Michael Gottlieb <mgottlieb@bsfllp.com> wrote:
>
>
TXIuIEJ1dG93c2t5LA0KDQpXZSBhcmUgd2VsbCBmYW1pbGlhciB3aXRoIFJ1bGUgMTEgYW
> 5kIGhh
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> RlZCBp biBMaXR0bGV0b24sIENvbG9yYWRvIOKAkyB0aGF0IGRvZXMgbm90IG


________________________________

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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     Sherman Division


     ED BUTOWSKY, in his Individual              )
     And Professional Capacities                 )
                                                 )
            Plaintiff,                           )
                                                 )
     v.                                          )            Case No. 4:18-cv-00442-ALM
                                                 )
                                                 )
     DAVID FOLKENFLIK et al                      )
                                                 )
            Defendants.                          )
                                                 )


            PLAINTIFF’S MEMORANDUM IN OPPOSITION
               TO DEFENDANTS’ MOTION TO STAY
            Plaintiff, Ed Butowsky, by counsel, respectfully submits this Memorandum in

     Opposition to the motion to stay pending disposition of motion to dismiss [ECF

     Document 34 (“Def. Mot.”)] filed by defendants, David Folkenflik (“Folkenflik”),

     National Public Radio, Inc. (“NPR”), Edith Chapin (“Chapin”), Leslie Cook (“Cook”)

     and Pallavi Gogoi (“Gogoi”).

                                      I. INTRODUCTION

            Over a year ago, Ed Butowsky suffered permanent harm to his name, reputation

     and business as a registered investment advisor because of a false and vile narrative

     published with actual malice by David Folkenflik and Douglas Wigdor, acting in concert.

            It is not surprising that Folkenflik and NPR want to short-circuit and delay this

     litigation and avoid discovery of their wrongdoing.




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            However, it is not the practice of Federal Courts to delay. Delay prejudices

     victims – evidence is lost, memories fade, costs increase. Delay clogs up the Courts and

     negatively impacts the public’s perception of Judges, Lawyers and the quality of Justice.

     Delay rewards large corporations, like NPR, by impeding the search for Truth – in this

     case, discovery of the collusive arrangement between Folkenflik and Wigdor.

                      II. THE SPIRIT AND LETTER OF THE RULES

            The purpose of the Federal Rules of Civil Procedure is to “secure the just, speedy,

     and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

            Consistent with the salutary policy of speedy justice, Rule 12(b) permits a

     defendant to assert certain defenses by motion, but, significantly, the Rule contains

     absolutely no “automatic stay” of discovery.

            Rule 26(d) governs the timing and sequence of discovery. A party may not seek

     discovery from any source before the parties have conferred as required by Rule 26(f).

     Rule 26(f) obligates the parties to confer “as soon as practicable – and in any event at

     least 21 days before a scheduling conference is to be held or a scheduling order is due” to

     discuss the case and develop a discovery plan. The filing of a motion pursuant to Rule

     12(b) does not excuse a party from participating in the mandatory Rule 26(f) conference.

            The Federal Rules of Civil Procedure embody the strong Federal public policy in

     favor of the resolution of disputes on their merits. Rule 26(b)(1) of the Federal Rules of

     Civil Procedure broadly mandates that a party may obtain discovery regarding “any

     nonprivileged matter that is relevant to any party’s claim or defense and proportional to

     the needs of the case”.     “Information within this scope of discovery need not be

     admissible in evidence to be discoverable.” Rule 33 provides that an interrogatory “may




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     relate to any matter that may be inquired into under Rule 26. Rule 34 states that a party

     “may serve on any other party a request within the scope of Rule 26(b). Rule 36 allows a

     party to serve “on any other party a written request to admit, for purposes of the pending

     action only, the truth of any matters within the scope of Rule 26(b)(1)”. Not one of the

     Rules relating to disclosures and discovery mentions Rule 12(b). 1

            This Court has adopted Local Civil Rules that directly and expressly reject the

     notion that discovery should be stayed and cases delayed.          Local Rule CV-26(a)

     emphatically provides as follows:

            “(a) No Excuses. Absent a court order to the contrary, a party is not excused
            from responding to discovery because there are pending motions to dismiss, to
            remand, or to change venue.”

                III. THERE IS NO GOOD CAUSE TO STAY DISCOVERY

            Defendants filed their motion to dismiss on October 16, 2018.

            On November 8, 2018, the Court entered its Order Governing Procedures,

     directing the parties to hold their Rule 26(f) conference by November 29, 2018. Counsel

     conducted the Rule 26(f) conference on November 27, 2018. On December 11, 2018,

     Butowsky served interrogatories and a request for production of documents on

     Folkenflik. Discovery has begun.

            There is nothing beyond speculation and hyperbole to justify the extraordinary

     relief requested by the Defendants. Defendants ask the Court to put the case on ice, and

     “spare” the parties “the burden and expense of discovery”, upon a supposition: “if” the

     Court grants Defendants’ motion to dismiss, discovery will be “unnecessary”. That is



            1
                     The Rules also expressly provide that leave to amend should be “freely”
     given in furtherance of the ends of justice. Fed. R. Civ. P. 15(a)(2). A stay of discovery
     interferes with a party’s right and ability to amend.


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     true in all cases. It is also equally true that “if” the Court denies the motion to dismiss,

     the case will have languished and Butowsky will most certainly be prejudiced.

            This case – all cases – need to move forward.

            The Defendants [Def. Mot., p. 4] urge the Court to exercise its discretion and stay

     the entire case because Folkenflik – who conspired with Wigdor to promote a false

     narrative – would be required to produce a list of his sources “and provide additional

     sensitive and privileged information.”

            The identity of Folkenflik’s sources is not privileged. Defendants have no right in

     this or any defamation action to withhold the names of their sources or what the sources

     supposedly said to Folkenflik and NPR. Defendants claim that

            “[d]iscovery in this case would likely result in invasive inquiries into Defendants’
            newsgathering techniques and unpublished information—all of which could
            compromise NPR’s continued reporting on this and similar matters of significant
            public concern.”

     [Def. Mot., p. 9].    This is grand theater – hyperbolic gesticulation.        Folkenflik’s

     “newsgathering techniques” are directly at issue. So too is the as yet “unpublished”

     secret communications between Folkenflik and Wigdor. Butowsky is absolutely entitled

     to develop this evidence to support his claim, alleged in the Complaint, that Folkenflik

     knew his statements were false or harbored serious doubt as to the veracity of his sources

     – Butowsky is entitled to discover evidence of Defendants’ actual malice. See, e.g.,

     Eramo v. Rolling Stone, LLC, 2016 WL 5234688 (W.D. Va. 2016). Defendants speculate

     that “discovery could compromise and chill NPR’s ability to report on this ongoing

     story”. [Def. Mot., pp. 4-5]. There is no “ongoing story” here, and this rank speculation.

            Further, “statutory fair report privilege, the statutory fair comment privilege, and

     the statutory third-party allegation rule” do not “squarely dispose of all remaining issues



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     in the case.” [Def. Mot., p. 6]. They do not apply at all. Contrary to Defendants’

     repeated assertion [E.g., Def. Mot, p. 1], Butowsky did not bring this action “in

     response to NPR’s reporting on a 2017 lawsuit” filed by Wigdor against Fox News.

     No matter how many times Defendants repeat their mantra, the well-plead complaint

     demonstrates that Butowsky brought this action because Folkenflik colluded with Wigdor

     to publish false and defamatory statements about a “Dallas investment manager”.

     Folkenflik knew he was part of Douglas Wigdor’s “press strategy” and he willingly assumed

     the role of “firecracker” in the scheme to extort money from Fox News. [Complaint, ¶ 10].

     This case is about collusion. This case presents the new face of media – one that does not

     report the news; rather, one that manufactures stories out of whole cloth.

            The First Amendment is not a shield that protects against defamation and it most

     certainly does not abrogate Butowsky’s liberty and property interest in his name and

     reputation. Mr. Justice Stewart’s observations in Rosenblatt v. Baer bear repeating:

            “‘Society has a pervasive and strong interest in preventing and redressing attacks
            upon reputation.’ The right of a man to the protection of his own reputation from
            unjustified invasion and wrongful hurt reflects no more than our basic concept of
            the essential dignity and worth of every human being—a concept at the root of
            any decent system of ordered liberty … The destruction that defamatory
            falsehood can bring is, to be sure, often beyond the capacity of the law to redeem.
            Yet, imperfect though it is, an action for damages is the only hope for vindication
            or redress the law gives to a man whose reputation has been falsely dishonored.
            … Surely if the 1950’s taught us anything, they taught us that the poisonous
            atmosphere of the easy lie can infect and degrade a whole society.”

     383 U.S. 75, 92-93 (1966). The competing Constitutional interests in this case are of

     equal dignity. The First Amendment provides no “high ground” for Folkenflik or NPR.

     See, e.g., United States v. Alvarez, 132 S.Ct. 2537, 2560 (2012) (the Supreme Court of

     the United States has recognized “[t]ime and again” that “false factual statements possess

     no First Amendment value.”).



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                                          CONCLUSION

            Motions to stay discovery “are not favored because when discovery is delayed or

     prolonged it can create case management problems which impede the Court’s

     responsibility to expedite discovery and cause unnecessary litigation expenses and

     problems.” Feldman v. Flood, 176 F.R.D. 651, 652 (M.D. Fla. 1997) (citing Kron

     Medical Corp. v. Groth, 119 F.R.D. 636 (M.D.N.C. 1988)).

            The Defendants want to grind this case to a halt because they seek to hide

     evidence of actual malice. The Defendants are not entitled to a stay simply because they

     say that “Plaintiff has failed to state any plausible claim upon which relief can be granted

     as to any of his alleged causes of action.” [Def. Mot., p. 9]. Defendants congratulatory

     platitudes are self-serving.     They signify nothing.       Butowsky contends that the

     Defendants’ motion to dismiss should be denied. His response to the Defendants’ motion

     [ECF Document 32] convincingly demonstrates that he has stated claims upon which

     relief can be granted. No Court should stay discovery unless it is “convinced” that the

     plaintiff will be unable to state a claim. A stay of discovery should never be granted on a

     mere suggestion by counsel for a defendant that “there is some degree of foundation in

     law for the dispositive motion and a possibility that Defendants may prevail.” Kor Media

     Group, LLC v. Green, 294 F.R.D. 579, 583 (D. Nev. 2013). 2

            For the reasons stated above, Plaintiff, Ed Butowsky, respectfully requests the

     Court to deny Defendants’ motion to stay.



     DATED:         December 14, 2018


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                    At most, the Defendants suggest that their pending motion to dismiss
     “should dispose of all of Plaintiff’s remaining claims.” [Def. Mot., p. 11 (emphasis added)].


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                              ED BUTOWSKY,
                              In his Individual and Professional Capacities



                              By:    /s/ Steven S. Biss
                                     Steven S. Biss (VSB # 32972)
                                     300 West Main Street, Suite 102
                                     Charlottesville, Virginia 22903
                                     Telephone:      (804) 501-8272
                                     Facsimile:      (202) 318-4098
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                                     Ty Clevenger, Esquire
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                                     P.O. Box 20753
                                     Brooklyn, NY 11202-0753
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                                     Email: tyclevenger@yahoo.com

                                     Counsel for the Plaintiff




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                                 CERTIFICATE OF SERVICE

            I hereby certify that on December 14, 2018 a copy of the foregoing was filed

     electronically using the Court’s CM/ECF system, which will send notice of electronic

     filing to counsel for Defendants and all interested parties receiving notices via CM/ECF,

     and a copy was also emailed in PDF to counsel for the Defendants:

            Laura.Prather@haynesboone.com;

            Thomas.Williams@haynesboone.com.




                                  By:     /s/ Steven S. Biss
                                          Steven S. Biss (VSB # 32972)
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                                          Counsel for the Plaintiff




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             UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA

                           -   -   -

     AARON RICH,                   : Civil Action No.
                                   :
                   Plaintiff,      : 1:18-cv-00681
              v.                   :
                                   :
     EDWARD BUTOWSKY,              :
     MATTHEW COUCH, and            :
     AMERICA FIRST MEDIA,          :
                                   :
                   Defendants.     :



                           -   -   -

                   AUDIO TRANSCRIPTION

                           -   -   -



                      Audio transcription of June
     26, 2018, Newsmax TV interview with
     Edward Butowsky.




                           -   -   -
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 1          - - -                             1   Wayne Root's show.
 2        WAYNE ROOT: And now we've           2        ED BUTOWSKY: Well, what a
 3    got our guest on the line, Ed           3   great introduction. Thank you.
 4    Butowsky. He is a very famous --        4   And I -- I distrust the media; you
 5    I guess you'd call -- wealth            5   distrust the government. And I'll
 6    manager, wealth advisor, financial      6   tell you, I didn't know that gold
 7    investment advisor, kind of all         7   depository was looking for
 8    that stuff. A Fox Business              8   someone. I think they missed my
 9    Network commentator.                    9   number. But what -- what a
10        And he's also the guy who          10   great -- what a great commercial
11    had a lot to do with breaking the      11   you did there so...
12    Seth Rich murder investigation.        12        But, Wayne, all kidding
13    And then all the fake news came        13   aside. Thank you very much for
14    along and they said terrible           14   having me on because I am suing
15    things about him, and he's suing       15   anybody who defamed me. I'm
16    them all now and going after them,     16   standing up and I'm saying, You
17    which I think is great.                17   know what? I've had enough of
18        And he's an all-around good        18   this nonsense. And I look forward
19    guy. He's not just a guest             19   to kind of digging -- you know,
20    because I flew to Dallas, actually     20   diving into it with you and how --
21    on his dime. He flew me to Dallas      21   how I got them.
22    like a year and a half ago to meet     22        WAYNE ROOT: All right. So
23    with him at his beautiful offices.     23   let's start with Seth Rich and the
24    They're in this all-glass building     24   whole case. How did you get
                                    Page 3                                      Page 5
 1    in Dallas overlooking the whole         1   involved in the Seth Rich case?
 2    town. Beautiful building. And we        2   And everyone out there knows my
 3    were talking about some business        3   opinion. I believe he was
 4    opportunities together. And I got       4   murdered. I've said it on TV many
 5    a chance to meet him and spent the      5   times. I wrote a column in the
 6    day in Dallas with Ed Butowsky.         6   newspapers about it. It got
 7        So I thought of him when I          7   picked up all over the country.
 8    saw him in the news for the Seth        8       He was murdered. He was
 9    Rich case. Then I saw him in the        9   murdered because he's the guy that
10    news suing all these fake media        10   gave all the DNC files to Julian
11    for lying and slandering him with      11   Assange and WikiLeaks, I believe.
12    the Seth Rich case. I said I got       12   That's my guess. But it seems
13    to get him on my Newsmax TV show       13   obvious to me. He got murdered
14    and my USA Radio show.                 14   for no money, no jewelry. They
15        You're now on both. You're         15   just killed him for no reason.
16    on national radio and national TV.     16   And no one seems to be interested
17    You're on in Dallas, by the way,       17   in finding the killer.
18    because our flagship station in        18       And it sure seems to me to
19    Dallas is KBDT for Big Dallas          19   point to the leading Democrats:
20    Talk. So you're on in Dallas,          20   Debbie Wasserman Schultz, the DNC,
21    You're on nationwide radio, and        21   the Clintons, Hillary Clinton.
22    you're on national TV to 50            22   All the above -- Donna Brazile.
23    million homes.                         23   All the above seem mixed up in
24        So, Ed Butowsky, welcome to        24   this. They all had a motive to




                                                               2 (Pages 2 to 5)
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                                    Page 6                                      Page 8
 1    kill this guy, Seth Rich, if he's       1       WAYNE ROOT: Yes.
 2    the guy that gave the DNC files         2       ED BUTOWSKY: And I said --
 3    and ruined Hillary's campaign to        3   Mr. and Mrs. Rich -- I told them
 4    WikiLeaks and Julian Assange.           4   this on December 17th at 3:01 p.m.
 5         Now it comes out today James       5   2016. I told them this, and they
 6    Comey issued a stand-down order on      6   said, Ed we know that. We just
 7    an immanent deal with Julian            7   want to know who murdered our son.
 8    Assange to reveal who leaked that       8   This was not a surprise. They
 9    stuff. And it was not Russia, so        9   said, Ed -- Ed, this has been
10    therefore, it must be Seth Rich.       10   information that's been out there
11    And therefore, someone must have       11   and so on. You didn't tell us
12    wanted retribution. And James          12   anything we didn't know.
13    Comey is doing the bidding of the      13       Now, I had no idea
14    Clintons as sure as I'm sitting        14   (indiscernible) --
15    here. He's been on their payroll       15       WAYNE ROOT: And -- and
16    on and off his whole life -- I'll      16   they're big Democrats, right? The
17    say "allegedly" -- and this guy's      17   family are big Democrats, correct?
18    doing their bidding and he killed      18       ED BUTOWSKY: I have no idea
19    this case.                             19   who they are. They're -- all I
20         So I think it's the dirtiest      20   knew was that this was a family
21    murder case ever. Let's see what       21   whose son was murdered. And I
22    you say.                               22   just was helping them because they
23         ED BUTOWSKY: Well, let            23   were getting nowhere with the
24    me -- let me say how I got             24   Washington police. That's what --
                                    Page 7                                      Page 9
 1    involved with this. And I'm not         1   that's -- well, you can see that
 2    gonna use those -- the person's         2   in the news.
 3    name, but somebody had come back        3       WAYNE ROOT: Terrible.
 4    from London with some information       4       ED BUTOWSKY: I didn't know
 5    that they wanted shared with Joel       5   much about this at all. And
 6    and Mary Rich. That's the parents       6   then -- and they said -- Mrs. Rich
 7    of Seth Rich.                           7   said to me at the end of the first
 8        WAYNE ROOT: Okay.                   8   phone call, If you ever learn
 9        ED BUTOWSKY: She said to            9   anything, let me know.
10    me, I'm -- I can't do this for a       10       Well, I talked to a friend
11    variety of reasons.                    11   of mine. And, Wayne, you and I
12        She's a friend of mine. I          12   both know lots of people in the
13    said, I'll do it for you. It was       13   government and -- in and around
14    a very -- it was a private thing.      14   the government, and I was talking
15    No one can know. And the               15   to someone and I said, Look. If
16    information was that her kids --       16   you know anybody, you know, who
17    not just Seth, but Aaron and           17   knows anything about this murder,
18    Seth -- were the ones who              18   let me know because I just talked
19    downloaded the e-mails from the        19   to the family.
20    DNC server. This information came      20       He said, Matter of fact, I
21    from London, so you can guess          21   know somebody. His name's Ju --
22    where it came from --                  22   his name is -- oh, what -- what --
23        WAYNE ROOT: Yes.                   23   my God. I can't believe I'm --
24        ED BUTOWSKY: -- Wayne.             24   I'm (indiscernible) his name




                                                               3 (Pages 6 to 9)
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                                 Page 10                                     Page 12
 1    but --                                1   thank you when I had, you know,
 2         WAYNE ROOT: Julian Assange?      2   done something nice for them.
 3         ED BUTOWSKY: No, not             3       WAYNE ROOT: Um-hm.
 4    Julian. The -- the writer. It'll      4       ED BUTOWSKY: And I don't
 5    come to me in a second.               5   even know these people. And I
 6         WAYNE ROOT: All right.           6   said, Well, why don't you hire a
 7         ED BUTOWSKY: And he had the      7   private detective?
 8    guy give me a call. It'll come        8       And, Wayne, they said, We'd
 9    back to me in a second because        9   love to but we can't afford one.
10    it's -- it's already out there.      10       WAYNE ROOT: Um-hm.
11    He was a very famous writer. He's    11       ED BUTOWSKY: And I threw
12    about 80 years old.                  12   out this: I'll pay for it.
13         And he said -- he called me     13       And you know what? They
14    up and he was talking really,        14   said, Thank you.
15    really fast. And I taped the         15       Wayne, I barely know these
16    phone call. I had never taped a      16   people. They were supposed to
17    call before, but my kids had just    17   say, Oh, my God. Thank you so
18    taught me how to do it on my iPad    18   much. We could never accept that.
19    memo. Okay? And I sent it over       19   End of it. Right? But they said,
20    to the Rich family and they never    20   Thank you.
21    said a word to me.                   21       WAYNE ROOT: So can I ask,
22         And I called them up and I      22   why do you think they weren't more
23    said -- I said, You know, I sent     23   thankful? That's a weird mystery
24    that thing to you. You know, was     24   right there.
                                 Page 11                                     Page 13
 1    that helpful?                         1       ED BUTOWSKY: Well -- well,
 2         And it should have been          2   they said thank you when I offered
 3    helpful. Because anybody can go       3   to pay for the private detective.
 4    to a website called                   4   And I then searched to find a
 5    DebunkingRodWheelersClaims.com and    5   private detective. I had no idea
 6    listen to the whole tape. Okay?       6   how much money these people, you
 7    And the name will come to me in a     7   know, charge. They were like 150
 8    moment. I apologize.                  8   to $200 an hour.
 9         WAYNE ROOT: So Rod Wheeler       9       Then someone said to me, Why
10    is a personal investigator -- a      10   don't you call Rod Wheeler.
11    private investigator, right?         11       Now, Rod was a -- is a
12         ED BUTOWSKY: Well --            12   private detective. At lease
13    well -- well, let me -- let me       13   that's what I believed he was. He
14    tell you this. Let me just say       14   appeared on Fox. Good guy. He
15    how I got there.                     15   got hired by the -- by the Rich
16         At the end of the next phone    16   family. I did not hire Rod
17    call -- or at the end of that        17   Wheeler. Rod Wheeler was hired by
18    phone call, Mrs. Rich said, Yes,     18   the Rich family; I agreed to pay
19    Ed. Thank you very much.             19   the bill. And as fate would have
20         And I said, Well, why don't     20   it, Malia Zimmerman wrote a story
21    you guys hire a private detective    21   along with Rod Wheeler.
22    because you're never gonna get       22       Now, where did the media
23    anywhere. I was kind of annoyed,     23   come into play here? This is a
24    you know, because they didn't say    24   very strange thing. But unbeknown




                                                          4 (Pages 10 to 13)
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                                   Page 14                                    Page 16
 1    to anybody in my circle, there's a      1   tell you something, Wayne. What
 2    guy named Wigdor. This is what          2   this guy did, he made up a story.
 3    people miss. And it's -- and,           3   And the story was -- to put
 4    Wayne, just -- please let me share      4   pressure on Fox News -- that --
 5    this, okay, because it's very           5   that he -- that (indiscernible) --
 6    important.                              6        WAYNE ROOT: Hey, Ed. Do me
 7        This guy was the one who            7   a favor. When you hear the music,
 8    represented people against Fox.         8   that means you're going a break.
 9    Went against O'Reilly, went             9   And I'm going to keep you over. I
10    against Roger Ailes. He made a         10   was planning to do this in one
11    living -- in fact, he has articles     11   segment and take calls in the last
12    how he made a living going after       12   segment, but you are important
13    Fox News.                              13   enough of a guest and great enough
14        WAYNE ROOT: So he's like           14   story here -- and you were on the
15    the Stormy Daniels lawyer. He's        15   trail of Seth Rich murder -- let's
16    that kind of guy who hates             16   hold you over for the next
17    conservatives.                         17   segment. So don't go anywhere.
18        ED BUTOWSKY: He is exactly         18   Sit right there.
19    like that.                             19        Ed Butowsky. Great
20        WAYNE ROOT: Right.                 20   all-around guy. Wealth manager.
21        ED BUTOWSKY: And what this         21   Manages billions of dollars of
22    guy did, Wayne, is unbelievable.       22   money in Dallas, Texas. The big
23    He was trying to -- Fox owned 30       23   D. We'll be right back. WAR Now.
24    percent of Sky News in London.         24          - - -
                                   Page 15                                    Page 17
 1    And Parliament oversaw -- or            1          [Music]
 2    oversees Sky News. They said, We        2          - - -
 3    will not let Fox News buy the           3       WAYNE ROOT: All right.
 4    other 70 percent of Sky News until      4   Last segment. We can't take more
 5    they clean up their act. And            5   calls tonight. We're just gonna
 6    meaning all these sex                   6   get to the bottom of this Seth
 7    discrimination cases that Wigdor        7   Rich thing with my great guest, Ed
 8    had.                                    8   Butowsky, who I consider a very
 9         WAYNE ROOT: Um-hm.                 9   good friend, a good man.
10         ED BUTOWSKY: Well, I don't        10   Financial advisor, wealth manager.
11    know anything about any of this.       11   Manages billions of dollars. Fox
12    But then what Wigdor did was           12   Business Network commentator. And
13    unreal. And that's why this guy        13   a guy who just, out of pure good
14    will go down in history as one of      14   will, hired a private
15    the --                                 15   investigator -- or I'm sorry. The
16           - - -                           16   family hired him, but he paid for
17           [Music]                         17   the private investigator, Wheeler,
18           - - -                           18   to dig into the Seth Rich mess and
19         ED BUTOWSKY: -- slimiest          19   he got in the middle of it all and
20    human beings I've ever met in my       20   he got defamed by the media, a
21    life. What he did --                   21   bunch of fake media liars.
22         WAYNE ROOT: Just like             22       I do have to mention real
23    Stormy Daniels' lawyer.                23   quick, if you're gonna talk about
24         ED BUTOWSKY: Well, let me         24   distrust of government, you've got




                                                           5 (Pages 14 to 17)
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                                   Page 18                                     Page 20
 1    to talk about the Landis Tax            1   glad to give you the information
 2    Group, the sponsor of the segment       2   of how you contact the sponsor,
 3    of the show. When the Obama IRS         3   the phone number, the website.
 4    tried to destroy me and defame me       4   Just always remember to call
 5    and ruin my life and those agents       5   Wayne. Contact Wayne.
 6    went after me and the Judicial          6   WayneRoot@gmail.com and I'll help
 7    Watch took my case, Sam Landis          7   you out.
 8    beat them and Judicial Watch            8        All right. Let's get back
 9    proved it was a political               9   to Ed Butowsky.
10    persecution, a political witch         10        So sum up this whole story.
11    hunt against Wayne Root because        11   You got defamed by the media --
12    Obama hated my guts.                   12        ED BUTOWSKY: Okay.
13        And they proved it and still       13        WAYNE ROOT: -- and you're
14    nobody got fired and still no one      14   going after the media now. Who
15    lost their job and still no one        15   are you going after? Tell us who
16    lost their pension. It's               16   you're going after.
17    incredible how evil government is.     17        ED BUTOWSKY: I'm -- I'm --
18    Incredible. Especially when            18   I'm going -- I can't -- I can't
19    Democrats are in charge.               19   announce who I'm going after until
20        But Sam Landis beat them           20   I --
21    twice, the whole US government and     21        WAYNE ROOT: Oh.
22    the whole IRS. He did a great          22        ED BUTOWSKY: -- go after
23    job. What a great attorney.            23   them, but if you name them -- if
24    Based in Beverly Hills. He             24   you can think of any news
                                   Page 19                                     Page 21
 1    handles cases in all 50 states and      1   outlet --
 2    has handled over 8,500 IRS cases.       2       WAYNE ROOT: Yes. Got it.
 3    8,500. 8,500. Get a free                3       ED BUTOWSKY: Every single
 4    consultation and find out what he       4   group went out -- after this guy
 5    could do for your tax problems,         5   Wigdor -- very quickly. Wigdor
 6    how he could make them go away,         6   made up a story that the president
 7    and how inexpensive he is, how          7   of the United States and Vladimir
 8    reasonable he is. You'll be             8   Putin had broken into the DNC
 9    shocked at how inexpensive it is.       9   server, and in order to distract
10         And while you're talking to       10   attention from everybody, the
11    an attorney, that means you have       11   president got ahold of me in
12    client -- or I should say              12   Dallas --
13    attorney-client privilege.             13       I never met the president.
14    Attorney-client privilege.             14   Never talked to the president.
15         Call the Landis Tax Group.        15   Never been anywhere near the
16    (800) WEHELPU. (800) WEHELPU with      16   president. But according to
17    the letter U. Or (800) 934-3578.       17   Wigdor, in order to put pressure
18    Thank you, Sam Landis.                 18   on Fox News, he said the president
19         And any sponsor on the show       19   reached out to me and that I got
20    that you are driving, you're           20   Fox News involved and I did this
21    listening, or you're watching, you     21   and I did that and I created
22    have no time to write it down,         22   and -- all this -- all these lies.
23    just e-mail me,                        23   And overnight, Wayne, I was on the
24    WayneRoot@gmail.com, and I'll be       24   cover of 377 newspapers with a lie




                                                            6 (Pages 18 to 21)
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                                   Page 22                                   Page 24
 1    that -- I did nothing. And the          1   let's say "alleged" --
 2    press went with it. And people          2        ED BUTOWSKY: His whole firm
 3    said horrible things. And I'm           3   did.
 4    going after every one of those          4        WAYNE ROOT: Let's say
 5    pieces of you-know-what.                5   "allegedly" on my show. Allegedly
 6        WAYNE ROOT: Good.                   6   he's a bad guy. Allegedly he did
 7        ED BUTOWSKY: And I'm not            7   this because you just never know.
 8    gonna let anybody get away with         8        ED BUTOWSKY: No. He is.
 9    the crap that they did to me and        9        WAYNE ROOT: These people
10    my life. I mean, my family -- the      10   are all crazy.
11    death threats -- my son was at         11        ED BUTOWSKY: He is. He's a
12    Vanderbilt and had that, you know,     12   piece of you-know-what. I guess
13    like -- like, death threats --         13   I'll say "allegedly" because --
14    they had it on the internet on --      14   no. You know what? I'm not. I'm
15        WAYNE ROOT: Wow.                   15   not gonna play that game.
16        ED BUTOWSKY: -- how many           16        WAYNE ROOT: No. Say it.
17    days until he was murdered -- you      17   Say "allegedly." I say
18    know, to murder him.                   18   "allegedly."
19        WAYNE ROOT: Can you                19        ED BUTOWSKY: You know what?
20    imagine.                               20   You know what? Not "allegedly."
21        ED BUTOWSKY: This is               21   He is what he is and --
22    unbelievable --                        22        WAYNE ROOT: Look. I think
23        WAYNE ROOT: And this is all        23   Obama's the most evil president in
24    because you did a good deed. This      24   the history of America, but I say
                                   Page 23                                   Page 25
 1    is all because --                       1   "allegedly." Always "allegedly."
 2        ED BUTOWSKY: That's all --          2   He sicced the IRS on me --
 3        WAYNE ROOT: -- you agreed           3       ED BUTOWSKY: All right.
 4    to pay for a private investigator.      4       WAYNE ROOT: -- and
 5        ED BUTOWSKY: It was all --          5   conservatives and Tea Party groups
 6    well, it was all -- Wayne, it was       6   and sicced other government
 7    because of this guy Wigdor who was      7   agencies on me, not just the IRS.
 8    trying to extort money from Fox         8   They're all evil. But I'll say
 9    News, and that is what this is all      9   "allegedly" just to keep on the
10    about.                                 10   safe side (indiscernible).
11        WAYNE ROOT: And I'll bet he        11       ED BUTOWSKY: Okay. Fine.
12    did. Right?                            12   Fine. Fine. Allegedly he did
13        ED BUTOWSKY: But people            13   this. Okay? But -- but -- so
14    don't know that.                       14   that's what happened. In terms of
15        WAYNE ROOT: They made out          15   Seth, I've got my PhD in the Seth
16    millions. So he made a fortune.        16   Rich situation. Okay?
17    Right?                                 17       WAYNE ROOT: So give me your
18        ED BUTOWSKY: Well, he              18   sum up.
19    didn't get 60 million. He got          19       ED BUTOWSKY: I don't know
20    something. But this guy Wigdor is      20   who murdered Seth Rich.
21    an extortionist. He's -- he -- he      21       WAYNE ROOT: You've got
22    went and got money from Fox News       22   about a minute and a half to give
23    and made up a lie.                     23   me your sum up.
24        WAYNE ROOT: Let's say --           24       ED BUTOWSKY: Yeah.




                                                           7 (Pages 22 to 25)
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                                  Page 26                                    Page 28
 1         WAYNE ROOT: What happened         1   can come to that conclusion --
 2    to Seth Rich?                          2       WAYNE ROOT: Right.
 3         ED BUTOWSKY: I have no idea       3       ED BUTOWSKY: -- and be
 4    who -- who murdered Seth Rich, but     4   correct.
 5    it's not a -- you know, look. You      5          - - -
 6    can put 2 and 2 together --            6          [Music]
 7         WAYNE ROOT: You're certain        7          - - -
 8    he was murdered.                       8       WAYNE ROOT: I'll leave it
 9         ED BUTOWSKY: -- what              9   up to everybody, Ed, to decide for
10    happened. I believe --                10   themselves, but it seems to me the
11         WAYNE ROOT: You don't know       11   likely suspects would be DNC,
12    who, but you're certain he was        12   Debbie Wasserman Schultz, Donna
13    murdered. Right?                      13   Brazile, Podesta, Hillary Clinton,
14         ED BUTOWSKY: Yeah. I             14   Bill Clinton, the Clinton
15    believe the transaction occurred      15   Foundation.
16    where he stole WikiLeaks -- I         16       ED BUTOWSKY: I have no
17    believe that happened June 23,        17   idea.
18    2016. I believe he got paid           18       WAYNE ROOT: Somebody paid
19    $48,115. That's what I was told.      19   for a hit on Seth Rich. That much
20    And I'm sharing that -- not saying    20   is clear.
21    that it happened for a fact. It       21       Ed, we've go to go.
22    allegedly happened.                   22       ED BUTOWSKY: Right.
23         WAYNE ROOT: Right. Now,          23       WAYNE ROOT: Show's over for
24    look.                                 24   the night. We loved having you
                                  Page 27                                    Page 29
 1         ED BUTOWSKY: And --               1   on. Fox Business Network
 2         WAYNE ROOT: Look.                 2   commentator, financial investment
 3    Everybody knows he was murdered.       3   advisor, wealth guru
 4    The question is: Was it a hit?         4   extraordinaire, Ed Butowsky in
 5    And I saw a famous forensic class      5   Dallas, Texas. Great guy.
 6    at George Washington University,       6        No good deed goes
 7    the most famous CSI class in           7   unpunished, unfortunately. He did
 8    America, studied the murder. Made      8   a good deed for that family. They
 9    it their class year's, you know,       9   weren't thankful. And now he gets
10    job.                                  10   smeared all over the world. Now
11         ED BUTOWSKY: Yeah. But           11   he's suing everyone. Good job.
12    that was with Burkman. And            12   Go get them. Ed Butowsky, go get
13    Burkman is a -- is a questionable     13   them. Good man. Thank you for
14    character.                            14   all you did.
15         WAYNE ROOT: Yeah. But they       15        Wayne Allyn Root. WAR Now.
16    came to the conclusion, this class    16   USA Radio, Newsmax TV. We'll see
17    that solved many cases, it was        17   you tomorrow. All the cops out
18    absolutely a hit. It was              18   there, all the vets, all the
19    absolutely, they said, a hit.         19   military, we love you. Be safe.
20         ED BUTOWSKY: Yeah.               20   God bless you. See you tomorrow.
21         WAYNE ROOD: It was not a         21          - - -
22    random murder in the street.          22      (End of audio file)
23         ED BUTOWSKY: Thank               23          - - -
24    goodness. I mean, a four-year-old     24




                                                          8 (Pages 26 to 29)
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                                          Page 30
 1            CERTIFICATE
 2
 3
 4            I HEREBY CERTIFY that the
 5   foregoing was transcribed by me from an
 6   audio file to the best of my ability.
 7
 8
 9
         Cindy Parker
10       Dated: October 24, 2019
11
12
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15             (The foregoing certification
16   of this transcript does not apply to any
17   reproduction of the same by any means,
18   unless under the direct control and/or
19   supervision of the certifying reporter.)
20
21
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                                          Page 31
 1          LAWYER'S NOTES
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12/30/2019         Case
                  Matt       🎙 on Twitter: "This is the CourtDocument
                       Couch1:18-cv-00681-RJL                              116-2
                                                              Docket from October      Filed
                                                                                  of 2016 where01/16/20       Page
                                                                                                Seth Rich's brother    38took
                                                                                                                    Aaron  of control
                                                                                                                              85 of his estate. Ce…
                                                  11           62          146 who was at the party Seth attended, told same thing
                                                                     Rod asked
                    Home        Moments                                                 aaron from:realmattcouch since:2                 cccount? Log in
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                                            Matt Couch        @RealMattCouch · Dec 29

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30          Showfor
                                            Let's get back to the murder     thisa thread
                                                                                   few, shall we. We've went over a lot of facts
                                            and details, and this is going to probably be the longest thread I've ever done on
                                                                      Matt
                                            this case. So hang in there,  andCouch
                                                                                I hope it's@RealMattCouch
                                                                                            helping some of ·you
                                                                                                              Novunderstand
                                                                                                                  19
  Top    Latest   People    Photos
                            Pho
                              o       Videoswhat'sNews                Let's #SethRich
                                                    going on Broadcasts
                                                             in this case.  follow that up, contacted multiple times? Nope I received one letter from
                                                                      Aaron Rich in January of 2018, I was traveling heavily in December of 2017
                                                  1            17             56
                                                                      investigating   the Las Vegas Shooting so I missed the delivery attempts.
                                                                                                                                         empts. Then I was
                                                                                                                                         e
                                                                      sued in March of 2018. That's it..
                                            Matt Couch        @RealMattCouch · Dec 29
                                            The Body Cams... We haven't1even got to the     20 body cams38yet..

                                                                    Show this thread
                                            Four of the six responding officers were wearing them..

                                                                   Matt Couch        @RealMattCouch · Dec 29
                                            Guess what we've never seen America? That's right, the body cams from the
                                                                   This is the Court Docket from October of 2016 where Seth Rich's brother Aaron
                                            night Seth Rich was shot and murdered..
                                                                   took control of his estate.

                                            You know, more conspiracies.. #SethRich
                                                                  Certain things were "sealed"
                                                  1            25             66
                                                                     This was done by a Judge appointed by one William Jefferson Clinton..
                                                                                                                                   iinton..
                                            Matt Couch        @RealMattCouch · Dec 29
                                            Let's take a look at whatYou
                                                                      Washington, D.C.
                                                                         know, more    Metropolitan
                                                                                     conspiracy stuff..Police's own General
                                            Order says about body cams, shall we America?
                                                                     #HisNameWasSethRich #SethRich
                                            #HisNameWasSethRich
                                                                          2             109          230

                                                                     Show this thread

                                                                     Matt Couch       @RealMattCouch · Dec 29
                                                                     Ed Butowsky also told America First Media Group that money wentent into Aaron
                                                                                                                                    e
                                                                     Rich's bank account via Wikileaks. He was our source on this backk in August of
                                                                     2017. He also said that Aaron and Seth were involved and workeded together on
                                                                                                                                    e
                                                                     the leaking of documents to Wikileaks.

                                                                          1             33           66

                                                                     Show this thread




                                                                                                    Back to top ↑




                                                  1            17             56

                                            Matt Couch       @RealMattCouch · Dec 29
                                            It's amazing to me folks, we have the body cams in the Las Vegas Shooting..

                                            We have the body cams from Parkland, Florida in the Broward County School
                                            Shooting where the police were even negligent and complicit in ways.

                                            But we don't have the bodyy cams for Seth Rich? #SethRich

                                                  1            32             76

                                            Matt Couch        @RealMattCouch · Dec 29
                                            Liz Lyons, the Privacy Officer for Washington, D.C. Metropolitan Police says that
                                            the body cams were either not relevant, or misplaced..

                                            That seems awfully convenient doesn't it Patriots?

                                            I mean, losing the body cams in an unsolved murder, normal right? #SethRich

                                                  2            22             65

                                            Matt Couch       @RealMattCouch · Dec 29
                                            Liz Lyons just happened to work for the FBI, and the Department of Homeland
                                            Security before taking the Privacy Officer Job..

                                            You know, more normal stuff America, nothing to see here. Just us Conspiracy
                                                                        y g to solve an unsolved murder. #SethRich
                                            Theorists hanging out and trying

https://twitter.com/RealMattCouch/status/1211390178088148993                                                                                                 
12/30/2019          Case
                   Matt       🎙 on Twitter: "This is the CourtDocument
                        Couch1:18-cv-00681-RJL                              116-2
                                                               Docket from October      Filed
                                                                                   of 2016 where01/16/20       Page
                                                                                                 Seth Rich's brother    39took
                                                                                                                     Aaron  of control
                                                                                                                               85 of his estate. Ce…
                                                     Theorists hanging out and trying
                                                                                 y g to solve an unsolved murder. #SethRich
                      Home            Moments                                                      aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                           Have an account?
                                                             1          16               53

                                                     Matt Couch        @RealMattCouch · Dec 29
  aaron from:realma
        from:realmattcouch
                  a         since:2019-07-09
                          Did                                  until:2019-12-30
                              we mention that we have a few insiders on Washington, D.C. Metropolitan
                                                     Police ;)
  Top    Latest     People         Photos
                                   Pho
                                     o        Videos     News         Broadcasts
                                                    They get an email within 90 days about keeping or destroying evidence on body
                                                    cams. So if this has been misplaced or destroyed, it wasn't accidental folks.
                                                                         Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide              #HisNameWasSethRich Odessa
                                                                         #SethRich
                                                                                police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                               1          16          17
                                                                                         51
                                                                                                  71            112

                                                     Matt Couch         @RealMattCouch     · Dec 29
                                                                              Show this thread
                   Anywhere
                                                     Oh, did we mention that Liz Lyons just happened to visit the White House on July
                                                     12th, 2016 just two daysMatt
                                                                               afterCouch        @RealMattCouch
                                                                                     Seth Rich was   murdered..   · Aug 12
                   All languages
                                                                              Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                              an Israeli Digital
                                                     I know... I know... More conspiracy         Forensics
                                                                                          nonsense... ThoseCompany
                                                                                                             Americanamed   Cellebrite?
                                                                                                                     First Media guys
                  Advanced search                    are really reaching here dammit..
                                                                             Cellebrite is a company that unlocks government cell phones and
                                                                                                                                           d computers for
                                                     #HisNameWasSethRich governments..
                  Related searches
                          searcc
                                                             3          28         65
                                                                              Now why would Aaron Rich need that? #SethRich
                  #packers
                                                     Matt Couch       @RealMattCouch · Dec 29
                  packers vs viking
                                  g
                             vikings
                                                     Oh, did we mention that Seth Rich was scheduled to visit the White House on
                                                     July 4th, 2016 and cancelled his visit..

                                                     I know.. I know.. More conspiracy nonsense, knock it off Matt Couch and AFMG..

                                                     #HisNameWasSethRich #SethRich

                                                             1          13               54

                  Want to take
                             e advantage Matt
                                         of allCouch    @RealMattCouch · Dec 29
                            Tw
                             w
                   the new Twitter features?
                                         Oh, did we mention that Joe Capone, the General Manager of Lou's City Bar also
                                  simpl – just log in. visited the White House on July 6th, 2016 and had pictures on his Facebook he
                             Itʼs simple
                                                       took down where he was visiting off limit areas from the normal tour?
                                      Log in
                                      L
                                                       Ya know, more conspiracyy stuff.. #SethRich
                                     Sign up
                                     S
                                                             1          23               59

                                                     Matt Couch       @RealMattCouch · Dec 29
                  Worldwide trends
                            trr                      Oh, did we mention that on July 8th, 2016 that Washington, D.C. Mayor Muriel
                  #PollThePeople                     Bowser also visited the White House..
                  51.7K Tweets
                                                     You know, more coincidences right?
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets
                                                     #HisNameWasSethRich #SethRich
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                   2             99            224
                  18.9K Tweets                               1          15               50
                  Republican VP                                               Show this thread
                  7,777 Tweets                       Matt Couch         @RealMattCouch · Dec 29
                                                     Oh, guess what we forgot Matt   Couch
                                                                                about...         @RealMattCouch
                                                                                           The Flagler  Market.. Right· Aug   12 the street
                                                                                                                         across
                  Syd Mead
                                                     from where Seth Rich was Nogunned
                                                                                 matter who     Rod
                                                                                           down..     Wheeler
                                                                                                   It has      talked
                                                                                                          a camera      to, theyWe're
                                                                                                                    system..      would  always
                                                                                                                                       going           m “Aaron said
                                                                                                                                             to tell him
                  10.5K Tweets
                                                                              notwe
                                                     show it to you.. But before  to talk  about
                                                                                       do that,   that”
                                                                                                why  don't we in the next thread put the
                  Rupi Kaur                          official Police Statement on it...
                  10.3K Tweets
                                                                              Rod has stated this on many occasions.
                  #MusicCityBowl                             1          15               49
                                                                                    4             110           327
                  Western Michiga
                          Michigan                   Matt Couch        @RealMattCouch · Dec 29
                  2,874 Tweets                                                 Show
                                                     Police told the family, Joel Richthis thread
                                                                                        said, that a security camera from a small
                  #RedboxBowl                        convenience store across the street captured a grainy image of their son
                  1,124 Tweets                                                 Matt Couch         @RealMattCouch · Jul 25
                                                     collapsing and the feet or legs of two other people — possibly his killers
                                                                               The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                med everyone
                                                                                                                                                m
                  Ice T
                  23.8K Tweets                                                 not to talk about certain things in the investigation was none other
                                                                                                                                                her than the
                                                                                                                                                h
                                                     #HisNameWasSethRich #SethRich
                                                                               brother of Seth Rich, Aaron Rich.
                                                             1          19               54
                  © 2019 Twitter About
                                  Abo
                                    o    Help Center Terms                          5             98            176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                     Matt Couch        @RealMattCouch      · Dec 29
                                                                               Show this thread
                                                     Officials with D.C. police declined an interview request. A police spokesman
                                                     would not confirm the existence    of a video
                                                                               Matt Couch           or reveal what Rich
                                                                                                 @RealMattCouch    · Augmay
                                                                                                                         12 have said
                                                     after he was shot, sayingRod
                                                                                thatasked
                                                                                     that information   could compromise
                                                                                          about the laptop..               an ongoing
                                                                                                              He was told “You don’t need to see
                                                                                                                                               e that” & when he
                                                     investigation. #HisNameWasSethRich
                                                                               asked why not#SethRich
                                                                                               Aaron told him “because I already checked it”

                                                             1          16               51
                                                                              Rod asked about the phone & phone Records And was told the ssame thing..
                                                     Matt Couch        @RealMattCouch · Dec 29
https://twitter.com/RealMattCouch/status/1211390178088148993                                                                                                           
12/30/2019          Case
                   Matt       🎙 on Twitter: "This is the CourtDocument
                        Couch1:18-cv-00681-RJL                              116-2
                                                               Docket from October      Filed
                                                                                   of 2016 where01/16/20       Page
                                                                                                 Seth Rich's brother    40took
                                                                                                                     Aaron  of control
                                                                                                                               85 of his estate. Ce…
                      Home             Moments                1             16             51         aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                              Have an account?

                                                         Matt Couch        @RealMattCouch · Dec 29
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09
                          Now                                   until:2019-12-30
                              that sure is interesting, because Washington, D.C. Police have even admitted
                                                      they've exhausted all leads. Now of course they've never reached out to our team
                                                      to meet. They've never asked to discuss evidence that we have, we've tried, no
  Top    Latest     People         Photos
                                   Pho
                                     o          Videosresponse.
                                                            News      Broadcasts
                                                                #HisNameWasSethRich

                                                              1             32             82
                                                                                  Matt Couch        @RealMattCouch · Sep 1
                  Search filters · Hide                  Matt Couch        @RealMattCouch · Dec 29
                                                                                  Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                         72) Let's look at Detective Antoine Weston of Washington D.C. Metro Police's 3rd
                   From anyone                           District attacking yours truly 17
                                                                                        on Twitter in 71
                                                                                                      the Summer 112
                                                                                                                 of 2017... I mean, again..
                                                         More Truth, coming right at you.. #SethRich #HisNameWasSethRich
                                                                                  Show this thread
                   Anywhere

                                                                                  Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                  Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                  an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                                                  governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings



                                                              2             33             67

                                                         Tweet unavailable

                                                 Matt Couch       @RealMattCouch · Dec 29
                                                 So that brings us back to the question... Which is it D.C. Police? You've exhausted
                  Want to take
                             e         advantage all
                                                 ofleads?
                                                     all Or you can't compromise an ongoing investigation?
                            Tw
                             w
                   the new Twitter features?
                                                         I think the American People would just like to know that someone is actually
                             Itʼs simple
                                  simpl – just log in.
                                                         working this case from an LEO p
                                                                                       perspective. #SethRich
                                     Log in
                                     L
                                                              2             33             90

                                     Sign up
                                     S
                                                         Matt Couch       @RealMattCouch · Dec 29
                                                         In the late summer of 2017 America First Media Group would learn of a party
                                                         that Seth Rich went to the night that he was murdered.
                  Worldwide trends
                            trr
                                                         This is something else that they have worked diligently to also try to cover up
                  #PollThePeople
                  51.7K Tweets                           and not talk about.

                  #PresidentSanders
                  #PresidentSande r
                                                         _ _ _ _ _ told everyone not to mention it
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                             3             33
                                                                                       2
                                                                                           77
                                                                                                     99            224
                  18.9K Tweets
                                                         Matt Couch        @RealMattCouch     · Dec 29
                                                                                  Show this thread
                  Republican VP
                  7,777 Tweets                           Let's throw some more cold hard facts at you.. You know, just stuff that the liberal
                                                         media like Oliver Darcy, Matt
                                                                                  Snopes,  and Right
                                                                                         Couch         Wing Watch don't
                                                                                                     @RealMattCouch      use12
                                                                                                                      · Aug   when writing
                  Syd Mead
                                                         articles.. Those pesky details knownwho
                                                                                  No matter     as Facts..                                          m “Aaron said
                                                                                                    Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                  not to talk about that”
                  Rupi Kaur                              Everything is a conspiracyy when you're a Democrat..
                  10.3K Tweets
                                                                                  Rod has stated this on many occasions.
                  #MusicCityBowl                              4             29             81
                                                                                       4             110           327
                  Western Michiga
                          Michigan                       Tweet unavailable
                  2,874 Tweets                                                    Show this thread
                  #RedboxBowl                            Matt Couch        @RealMattCouch · Dec 29
                  1,124 Tweets                                                    Mattthat
                                                         Seymour Hersh after stating    Couch       @RealMattCouch
                                                                                             Seth Rich was murdered as   · Jul
                                                                                                                            part25of a Brennan
                                                                                  The person
                                                         CIA hit, of course has nothing  to saythat Rodcase
                                                                                                on the   Wheeler
                                                                                                              now.told
                                                                                                                   He wasBill Pierce
                                                                                                                               caughtand   I that had informed
                                                                                                                                       talking             med everyone
                                                                                                                                                           m
                  Ice T
                  23.8K Tweets                           about his knowledge of not
                                                                                  the to talkHe
                                                                                      case.   about  certainhis
                                                                                                 mentions     things in the
                                                                                                                sources       investigation
                                                                                                                         at the   FBI as well,was
                                                                                                                                               andnone other
                                                                                                                                                          her than the
                                                                                                                                                          h
                                                         mentions how good they   brother
                                                                                  y are onofaudio.
                                                                                              Seth Rich, Aaron Rich.

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                                    o    Help Center Terms 2                37         5 83          98            176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                         Matt Couch             Show this thread
                                                                          @RealMattCouch     · Dec 29
                                                         Sy Hersh also mentions that they got a warrant to get his laptops and devices.
                                                         Now why would they doMattthat Couch
                                                                                       and use the@RealMattCouch
                                                                                                    Cyber Unit in D.C.· Aug  12 his laptop?
                                                                                                                        to view
                                                                                Rod   asked about  the laptop.. He  was
                                                         Hersh then says they called the FBI's Cyber Unit for assistance.told “You don’t need to see
                                                                                                                                                   e that” & when he
                                                                                asked why not Aaron told him “because I already checked it”
                                                              1             28             70
                                                                                Rod asked about the phone & phone Records And was told the ssame thing..
                                                         Matt Couch        @RealMattCouch · Dec 29

https://twitter.com/RealMattCouch/status/1211390178088148993                                                                                                              
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 41
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                          1            28              70
                      Home            Moments                                                    aaron from:realmattcouch since:2                    cccount? Log in
                                                                                                                                            Have an account?

                                                    Matt Couch        @RealMattCouch · Dec 29

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                    Hersh says that Metro P.D. Calls the FBI Washington, Field Office Cyber Unit for
                                                    assistance. Public Information you get in a warrant does not include the affidavit
                                                    for why you're going in, that's almost never available Hersh says.
  Top    Latest     People         Photos
                                   Pho
                                     o        Videos#HisNameWasSethRich
                                                          News               #SethRich
                                                                     Broadcasts

                                                          1            26              70

                                                                            Matt Couch· Dec @RealMattCouch     · Sep 1
                  Search filters · Hide              Matt Couch      @RealMattCouch         29
                                                                            Odessa
                                                     The Feds get through, and     policeto
                                                                               according  identified the gunman
                                                                                            the FBI report        as 36-year-old
                                                                                                           he makes   contact withSeth Aaron Ator, of Odessa..
                   From anyone                       Wikileaks in late spring, that's17in his computer
                                                                                                   71
                                                                                                        from what
                                                                                                               112they gathered. (This is
                                                     from Hersh) They found what he had done, he had submitted a series of
                                                                              Show this
                                                     documents/emails to Wikileaks          thread
                                                                                         from  the DNC.
                   Anywhere

                                                          2            32   Matt Couch
                                                                                    78         @RealMattCouch · Aug 12
                   All languages
                                                                            Now why was the brother of Seth Rich trying to find people that had contacts to
                                                     Matt Couch      @RealMattCouch      · Dec Forensics
                                                                            an Israeli Digital 29        Company named Cellebrite?
                  Advanced search                    According to Hersh, he offered an extensive sample to Wikileaks several dozen
                                                     documents, and he had Cellebrite
                                                                             a drop box.
                                                                                       is aEventually
                                                                                            companyWikileaks   getsgovernment
                                                                                                      that unlocks  the password
                                                                                                                              celltophones and
                                                                                                                                             d computers for
                                                     the drop box. A protective    p box.
                                                                                drop
                                                                            governments..
                  Related searches
                          searcc                          1            28              70
                                                                              Now why would Aaron Rich need that? #SethRich
                  #packers
                                                     Matt Couch       @RealMattCouch · Dec 29
                  packers vs viking
                                  g
                             vikings                 They got access to the drop box, also in the FBI report according to Seymour
                                                     Hersh; The word was according to the FBI report, he also shared this box with a
                                                     couple of friends, so if anything happens to me, you're not going to solve this
                                                     problem. #HisNameWasSethRich #SethRich

                                                          1            31              75

                                                      Matt Couch        @RealMattCouch · Dec 29
                                                      Wikileaks got access to the drop box before Seth Rich was killed according to
                  Want     to take  e advantage Hersh  of alland the FBI report he speaks of. "I have someone that I've known at the
                                                      FBI for a long time, he's a guy who can get information, you're just going to have
                   the             Tw
                                    w
                           new Twitter        features?
                                                      to trust me" #HisNameWasSethRich
                            Itʼs simple
                                 simpl – just log in.
                                                          1            47              106
                                     Log in
                                     L
                                                     Matt Couch        @RealMattCouch · Dec 29
                                    Sign up
                                    S                Hersh: "I have a narrative of how that whole thing began, how this whole F'N
                                                     thing began, it's a Brennan operation, it was an American disinformation. They
                                                     even started telling the press, and back briefing the press, they were even
                                                     blaming Russian Intelligence."
                  Worldwide trends
                            trr
                  #PollThePeople                          2            43              91
                  51.7K Tweets
                                                     Matt Couch         @RealMattCouch · Dec 29
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets                         Wikileaks for the first time in their history offers a $20,000 reward for any
                                                     information leading towards info that helps solve Seth Rich's murder. This is the
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                   2              99 in their history.
                                                                                                                  224
                                                     first time that they've ever offered  a reward
                  18.9K Tweets
                                                     #HisNameWasSethRich #SethRich
                  Republican VP                                                Show this thread
                  7,777 Tweets
                                                                              Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                            m “Aaron said
                                                                              No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                              not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                              Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                   4             110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                Matt Couch       @RealMattCouch · Jul 25
                                                                              The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                               med everyone
                                                                                                                                               m
                  Ice T
                  23.8K Tweets                                                not to talk about certain things in the investigation was none other
                                                                                                                                               her than the
                                                                                                                                               h
                                                                              brother of Seth Rich, Aaron Rich.

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                                                           4           109             178
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                                                                           Show this thread
                                                     Matt Couch      @RealMattCouch · Dec 29
                                                     thedcpatriot.com/2019/01/23/470…
                                                                           Matt Couch      @RealMattCouch · Aug 12
                                                                           Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                         e that” & when he
                                                         1            10         34
                                                                           asked why not Aaron told him “because I already checked it”
                                                     Matt Couch          @RealMattCouch · Dec 29
                                                     This little fella appearedRod
                                                                                rightasked
                                                                                      after about the phone
                                                                                            the murder,     & phone
                                                                                                        and then     Records like
                                                                                                                 disappeared Andawas
                                                                                                                                  thieftold the ssame thing..
                                                     in the night..
https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                           
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 42
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments           Matt Couch          @RealMattCouch · Dec 29aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                            Have an account?
                                                         This little fella appeared right after the murder, and then disappeared like a thief
                                                         in the night..
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                      Now can you imagine making this tweet after one of your neighbors was shot
                                                      and murdered?
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos     News     Broadcasts
                                                         We can't either..


                  Search filters · Hide                  #HisNameWasSethRich Matt Couch
                                                                             #SethRich       @RealMattCouch · Sep 1
                                                                             Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17            71           112

                                                                                  Show this thread
                   Anywhere

                                                                                  Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                  Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                  an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                                                  governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings




                  Want to take
                             e advantage of all
                            Tw
                             w
                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.
                                                              1              23             56
                                     Log in
                                     L

                                                         Matt Couch       @RealMattCouch · Dec 29
                                     Sign up
                                     S
                                                         He's doing all but say it folks, here's another one.. Wikileaks won't roll over on a
                                                         source dead or alive, because it could compromise existing assets they have in
                                                         play. Those are the facts, the spy game is real.
                  Worldwide trends
                            trr
                  #PollThePeople                         #HisNameWasSethRich #SethRich
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2             99           224
                  18.9K Tweets

                  Republican VP                                                   Show this thread
                  7,777 Tweets                                1              45             91
                                                                               Matt Couch          @RealMattCouch · Aug 12
                  Syd Mead
                                                         Matt Couch      @RealMattCouch    · DecRod
                                                                               No matter who       29 Wheeler talked to, they would always tell him
                                                                                                                                                  m “Aaron said
                  10.5K Tweets
                                                         You know, just more conspiracy stuff...
                                                                               not to talk about Even if there's not any basis for it.. Right
                                                                                                   that”
                  Rupi Kaur                              Skippy?
                  10.3K Tweets
                                                                                  Rod has stated this on many occasions.
                  #MusicCityBowl                         #HisNameWasSethRich
                                                                                       4             110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                    Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                    Matt Couch       @RealMattCouch · Jul 25
                                                                                  The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                   med everyone
                                                                                                                                                   m
                  Ice T
                  23.8K Tweets                                                    not to talk about certain things in the investigation was none other
                                                                                                                                                   her than the
                                                                                                                                                   h
                                                                                  brother of Seth Rich, Aaron Rich.

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                                    o    Help Center Terms                             5             98           176
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                                                                                  Show this thread

                                                                                  Matt Couch     @RealMattCouch · Aug 12
                                                                                  Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                                e that” & when he
                                                                                  asked why not Aaron told him “because I already checked it”

                                                                                  Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                           
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 43
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments                                                     aaron from:realmattcouch since:2             cccount? Log in
                                                                                                                                       Have an account?



  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos        News       Broadcasts



                                                                                Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                               2            71          17121        71           112


                                                         Matt Couch             Show this thread
                                                                          @RealMattCouch     · Dec 29
                   Anywhere
                                                         People often ask, how do you know Seth Rich was Panda..
                                                                                Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         We know, trust us everyone involved knows..
                                                                                an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                         #HisNameWasSethRich
                                                                                Cellebrite is a company that unlocks government cell phones and
                                                                                                                                              d computers for
                                                                                governments..
                  Related searches
                          searcc
                                                                                Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings




                  Want to take
                             e advantage of all
                            Tw
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

                                     Log in
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                                     Sign up
                                     S                       4            100             165

                                                         Matt Couch      @RealMattCouch · Dec 29
                                                         Seems like an awfully odd tweet the day after you were murdered?
                  Worldwide trends
                            trr
                  #PollThePeople                         Would you or I be all smiles? What in the hell is wrong with these people
                  51.7K Tweets                           America?
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets                             #HisNameWasSethRich

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                     2            99           224
                  18.9K Tweets

                  Republican VP                                                 Show this thread
                  7,777 Tweets
                                                                                Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                              m “Aaron said
                                                                                No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                      4            110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                  Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                  Matt Couch       @RealMattCouch · Jul 25
                                                                                The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                 med everyone
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                  Ice T
                  23.8K Tweets                                                  not to talk about certain things in the investigation was none other
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                                                                                brother of Seth Rich, Aaron Rich.

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                                                                                Show this thread

                                                                                Matt Couch     @RealMattCouch · Aug 12
                                                                                Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                              e that” & when he
                                                                                asked why not Aaron told him “because I already checked it”

                                                                                Rod asked about the phone & phone Records And was told the ssame thing..
                                                             2            45              69

https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                      
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 44
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                             2            45               69
                      Home             Moments                                                     aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                         Have an account?

                                                         Matt Couch        @RealMattCouch · Dec 29
                                                         This is the only known picture of the night that Seth Rich was murdered.
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                         #HisNameWasSethRich
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos        News       Broadcasts



                                                                                Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                        17           71           112

                                                                                Show this thread
                   Anywhere

                                                                                Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                             1            35            68 is a company that unlocks government cell phones and
                                                                                 Cellebrite                                                   d computers for
                                                                                 governments..
                                                         Matt Couch       @RealMattCouch · Dec 29
                  Related searches
                          searcc                         We know that Lou's City Bar was showing the UFC 200 PPV that night. The return
                                                                                 Now why would Aaron Rich need that? #SethRich
                  #packers                               of Brock Lesnar. The bar would have been packed.
                  packers vs viking
                                  g
                             vikings
                                                         Yet no one has came forward besides staff to talk about the most high profile
                                                         murder in Washington D.C. in decades?

                                                         #HisNameWasSethRich




                  Want to take
                             e advantage of all
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                          2            20               60
                  77K Tweets
                                                         Matt Couch      @RealMattCouch · Dec 29
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y
                  18.9K Tweets                           My good friend and attorney2             99           224

                                                         @JaredBeck            Show this thread
                  Republican VP
                  7,777 Tweets
                                                          has made some amazing points in this investigation. Jared has what people call
                                                         "common sense" and "logic"
                                                                               Matt things
                                                                                     Couchthat @RealMattCouch
                                                                                                are missing from the  majority
                                                                                                                   · Aug  12   of
                  Syd Mead                               Democrats and Republicans  in Washington,
                                                                               No matter   who Rod D.C. #HisNameWasSethRich
                                                                                                     Wheeler                                     m “Aaron said
                                                                                                             talked to, they would always tell him
                  10.5K Tweets
                                                         #SethRich             not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                      4            110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                  Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                  Matt Couch       @RealMattCouch · Jul 25
                                                                                The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                 med everyone
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                  Ice T
                  23.8K Tweets                                                  not to talk about certain things in the investigation was none other
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                                                                                brother of Seth Rich, Aaron Rich.

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                                                             2            29               73
                                                                                Matt Couch     @RealMattCouch · Aug 12
                                                         Matt Couch             Rod asked about
                                                                        @RealMattCouch · Dec 29 the laptop.. He was told “You don’t need to see
                                                                                                                                              e that” & when he
                                                         Proof Washington, D.C. asked
                                                                                Mayorwhy  notBowser
                                                                                      Muriel  Aaron visited
                                                                                                     told him
                                                                                                            the“because I already
                                                                                                                 White House   twochecked
                                                                                                                                   days   it”
                                                         before the murder of Seth Conrad Rich..
                                                                                Rod asked about the phone & phone Records And was told the ssame thing..
                                                         You know, more conspiracies on our part, right?
https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                        
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 45
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                         You know, more conspiracies on our part, right?
                      Home             Moments                                                     aaron from:realmattcouch since:2            cccount? Log in
                                                                                                                                      Have an account?

                                                         #HisNameWasSethRich

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos        News       Broadcasts



                                                                                Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                        17           71           112

                                                                                Show this thread
                   Anywhere

                                                                                Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                Cellebrite is a company that unlocks government cell phones and
                                                                                                                                              d computers for
                                                                                governments..
                  Related searches
                          searcc
                                                                                Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings


                                                             1            30               63

                                                         Matt Couch      @RealMattCouch · Dec 29
                                                         The Cousin of Seth Rich Jonathan Rich...

                                                         #HisNameWasSethRich

                  Want to take
                             e advantage of all
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                     2            99           224
                  18.9K Tweets

                  Republican VP                                                 Show this thread
                  7,777 Tweets
                                                             1            37             70
                                                                                 Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                               m “Aaron said
                                                                                 No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets                           Matt Couch       @RealMattCouch · Dec 29
                                                                                 not to talk about that”
                  Rupi Kaur                              Notice how they're all more worried about the reputation of the "DNC" than
                  10.3K Tweets                           solving Seth Rich's murder?
                                                                                 Rod has stated this on many occasions.
                  #MusicCityBowl
                                                         #HisNameWasSethRich          4            110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                  Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                  Matt Couch       @RealMattCouch · Jul 25
                                                                                The person that Rod Wheeler told Bill Pierce and I that had informed
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                  Ice T
                  23.8K Tweets                                                  not to talk about certain things in the investigation was none other
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                                                                                brother of Seth Rich, Aaron Rich.

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                                                                                Show this thread

                                                                                Matt Couch     @RealMattCouch · Aug 12
                                                                                Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                              e that” & when he
                                                             1            33          71 not Aaron told him “because I already checked it”
                                                                                asked why

                                                         Matt Couch      @RealMattCouch · Dec 29
                                                                              Rod asked about the phone & phone Records And was told the ssame thing..
                                                         Here's another gem..

https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                      
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 46
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                              1            33               71
                      Home             Moments                                                       aaron from:realmattcouch since:2                cccount? Log in
                                                                                                                                            Have an account?
                                                         Matt Couch      @RealMattCouch · Dec 29
                                                         Here's another gem..
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                         #HisNameWasSethRich

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                                     o          Videos        News        Broadcasts



                                                                                 Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                 Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17           71            112

                                                                                 Show this thread
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                                                                                 Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                 Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                 an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                 Cellebrite is a company that unlocks government cell phones and
                                                                                                                                               d computers for
                                                                                 governments..
                  Related searches
                          searcc
                                                                                 Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings




                                                              1            30               73

                                                         Matt Couch       @RealMattCouch · Dec 29


                  Want to take
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2            99            224
                  18.9K Tweets

                  Republican VP                                                  Show this thread
                  7,777 Tweets
                                                                                 Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                               m “Aaron said
                                                                                 No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                 not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                 Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                       4            110           327
                  Western Michiga
                          Michigan                            1            15               41
                  2,874 Tweets                                               Show this thread
                  #RedboxBowl                            Matt Couch   @RealMattCouch · Dec 29
                  1,124 Tweets                           Hmmmm..             Matt Couch       @RealMattCouch · Jul 25
                                                                             The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                              med everyone
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                  Ice T
                  23.8K Tweets                           #HisNameWasSethRich not to talk about certain things in the investigation was none other
                                                                             #SethRich                                                        her than the
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                                                                             brother of Seth Rich, Aaron Rich.

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                                                                                 Show this thread

                                                              2            17               54
                                                                               Matt Couch     @RealMattCouch · Aug 12
                                                         Matt Couch            Rod asked about
                                                                        @RealMattCouch · Dec 29the laptop.. He was told “You don’t need to seee that” & when he
                                                                               asked
                                                         Hey, remember that group    why not Aaron
                                                                                  Crowdstrike       told
                                                                                              group...   him
                                                                                                       You   “because
                                                                                                           know        I already
                                                                                                                the same          checked it”
                                                                                                                            Clinton
                                                         Lawyer that hired them, hired Fusion GPS, Also paid for Christopher Steele the
                                                                                  Rod asked
                                                         British Spy... Oh, and they're also inabout  the
                                                                                                Florida   phone
                                                                                                        trying to & phone
                                                                                                                  steal     Records And was told the ssame thing..
                                                                                                                        an electio...


https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                           
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 47
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                     Hey, remember that group Crowdstrike group... You know the same Clinton
                      Home            Moments        Lawyer that hired them, hired Fusion GPS, Alsoaaronpaid  for Christopher
                                                                                                         from:realmattcouch     Steele the Have an account?
                                                                                                                            since:2                 cccount? Log in
                                                     British Spy... Oh, and they're also in Florida trying to steal an electio...

  aaron from:realma
        from:realmattcouch
                  a         since:2019-07-09
                          Yeah, we're probably reaching here... until:2019-12-30


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                                     o        Videos       News        Broadcasts



                                                                              Matt Couch      @RealMattCouch · Sep 1
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                                                                              Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                      17            71            112

                                                                              Show this thread
                   Anywhere

                                                                              Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                              Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                              an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                              Cellebrite is a company that unlocks government cell phones and
                                                                                                                                            d computers for
                                                                              governments..
                  Related searches
                          searcc
                                                                              Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings




                                                          2             48               85


                             e advantage Matt
                  Want to take                Couch
                                         of all         @RealMattCouch · Dec 29
                                         Where Seth Rich was shot, compared to where he lived..
                            Tw
                             w
                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in. #HisNameWasSethRich #SethRich

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                                    Sign up
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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                       1             20               63
                  77K Tweets
                                                     Matt Couch          @RealMattCouch · Dec 29
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                  2           99 Seth Rich224
                  18.9K Tweets
                                                     Just a list of the camera's compared to where          was shot and murdered..

                  Republican VP                                          Show this thread
                                                     #HisNameWasSethRich #SethRich
                  7,777 Tweets
                                                                              Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                            m “Aaron said
                                                                              No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                              not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                              Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                    4             110           327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                Matt Couch       @RealMattCouch · Jul 25
                                                                              The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                               med everyone
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                  Ice T
                  23.8K Tweets                                                not to talk about certain things in the investigation was none other
                                                                                                                                               her than the
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                                                                              brother of Seth Rich, Aaron Rich.

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                                                                            Show this thread
                                                     Matt Couch     @RealMattCouch · Dec 29
                                                                            Matt
                                                     These Camera's didn't pick upCouch      @RealMattCouch
                                                                                   Seth Rich the               · Aug 12
                                                                                                 night he was murdered..
                                                                            Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                          e that” & when he
                                                     #HisNameWasSethRich asked why not Aaron told him “because I already checked it”

                                                                              Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                          
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 48
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                              2            40               85
                      Home             Moments                                                      aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                          Have an account?
                                                         Matt Couch     @RealMattCouch · Dec 29
                                                         These Camera's didn't pick up Seth Rich the night he was murdered..
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                         #HisNameWasSethRich

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                                     o          Videos        News        Broadcasts



                                                                                 Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                 Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17           71           112

                                                                                 Show this thread
                   Anywhere

                                                                                 Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                 Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                 an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                 Cellebrite is a company that unlocks government cell phones and
                                                                                                                                               d computers for
                                                                                 governments..
                  Related searches
                          searcc
                                                                                 Now why would Aaron Rich need that? #SethRich
                  #packers
                                                              4            56               120
                  packers vs viking
                                  g
                             vikings
                                                         Matt Couch     @RealMattCouch · Dec 29
                                                         More Camera's that didn't pick up Seth Rich..




                  Want to take
                             e advantage of all
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets
                                                              7            50               107
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets
                                                         Matt Couch       @RealMattCouch · Dec 29
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        Darn if these camera's didn't 2miss #SethRich
                                                                                                   99 too... Most224
                                                                                                                  guarded city in the
                  18.9K Tweets                           World.. No sign of him..
                  Republican VP                                                   Show this thread
                  7,777 Tweets
                                                                                 Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                               m “Aaron said
                                                                                 No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                 not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                 Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                       4            110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                   Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                   Matt Couch       @RealMattCouch · Jul 25
                                                                                 The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                  med everyone
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                  Ice T
                  23.8K Tweets                                                   not to talk about certain things in the investigation was none other
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                                                                                 brother of Seth Rich, Aaron Rich.

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                                    o    Help Center Terms                             5            98           176
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                                                                                 Show this thread
                                                              1            35               84
                                                                                  Matt Couch        @RealMattCouch · Aug 12
                                                         Matt Couch        @RealMattCouch     · Dec 29
                                                                                  Rod asked about   the laptop.. He was told “You don’t need to see e that” & when he
                                                         I'll be darned, these didn't pickwhy
                                                                                  asked    up Seth Rich either
                                                                                              not Aaron        that“because
                                                                                                         told him   night... #SethRich
                                                                                                                              I already checked it”

                                                                                 Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                            
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 49
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments                                                       aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                           Have an account?



  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos        News        Broadcasts



                                                                                 Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                 Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17           71            112

                                                                                 Show this thread
                   Anywhere
                                                              1            28               74
                                                                              Matt Couch        @RealMattCouch · Aug 12
                   All languages
                                                         Matt Couch           Now why was
                                                                      @RealMattCouch         the29
                                                                                          · Dec  brother of Seth Rich trying to find people that had contacts to
                                                                              an Israeli
                                                         Remember when I told you aboutDigital  Forensics
                                                                                         the Cameras      Company
                                                                                                       at the Flaglernamed
                                                                                                                      Market.Cellebrite?
                  Advanced search
                                                         The Police took the tape,Cellebrite
                                                                                   and nowisclaim
                                                                                             a company   that
                                                                                                  that they   unlocks
                                                                                                            can't       government
                                                                                                                  find it,             cellitphones and
                                                                                                                           can't confirm              d computers for
                                                         exists, even though the governments..
                                                                                 parents of Seth Rich have even on record with the
                  Related searches
                          searcc                         Washington Post stated Police told them about it??
                                                                                 Now why would Aaron Rich need that? #SethRich
                  #packers                                    3            39               86

                  packers vs viking
                                  g
                             vikings
                                                         Matt Couch        @RealMattCouch · Dec 29
                                                         There was a camera at the Flagler Market in the 2nd level that was aimed directly
                                                         out into the street.

                                                         This is the video that Police took, and now claim doesn't exist, even though they
                                                         told the parents about it, but if it does exist they can't show it to public/media.



                  Want to take
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                   the new Twitter features?
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                  Worldwide trends
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                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2 67         99            224
                                                              1            35
                  18.9K Tweets

                  Republican VP                                                    Show this thread
                                                         Matt Couch        @RealMattCouch · Dec 29
                  7,777 Tweets
                                                         Another group of places that missed Seth Rich that dreadful night and early
                                                                                   Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead                               morning..
                                                                                                                                                 m “Aaron said
                                                                                   No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                   not to talk about that”
                  Rupi Kaur                              Oh, and that picture in the middle, that's the Camera/Security system from the
                  10.3K Tweets                           Flagler Market.. You know.. The one Police took that they told the parents about,
                                                                                   Rod has stated this on many occasions.
                  #MusicCityBowl                         but now can't find, etc..
                                                                                       4            110           327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                   Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                   Matt Couch       @RealMattCouch · Jul 25
                                                                                 The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                  med everyone
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                  Ice T
                  23.8K Tweets                                                   not to talk about certain things in the investigation was none other
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                                                                                 brother of Seth Rich, Aaron Rich.

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                                                                                 Matt Couch     @RealMattCouch · Aug 12
                                                                                 Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                               e that” & when he
                                                                                 asked why not Aaron told him “because I already checked it”

                                                                                 Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                            
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 50
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments                                                      aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                          Have an account?



  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
  Top    Latest     People         Photos
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                                     o           Videos        News       Broadcasts



                                                                                 Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                 Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                3            39          1766         71           112

                                                          Matt Couch             Show this thread
                                                                          @RealMattCouch      · Dec 29
                   Anywhere
                                                          Hanging out at Lou's City Bar.. This is where Seth Rich was allegedly at the night
                                                                                 Matt Couch         @RealMattCouch · Aug 12
                   All languages                          he would end up murdered..
                                                                                 Now why was the brother of Seth Rich trying to find people that had contacts to
                                                          #HisNameWasSethRich an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                 Cellebrite is a company that unlocks government cell phones and
                                                                                                                                               d computers for
                                                                                 governments..
                  Related searches
                          searcc
                                                                                 Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
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                  Want to take
                             e advantage of all
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                   the new Twitter features?
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                                      Log in
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                                                              1            26              55
                                     Sign up
                                     S
                                                          Matt Couch        @RealMattCouch · Dec 29
                                                          Very few have had the courage to talk about this or tackle this case with our
                  Worldwide trends
                            trr                           team. Thanks to OANN for when they did talk about this case. I've slimmed up
                                                          since these pics too, also encouraging.
                  #PollThePeople
                  51.7K Tweets
                                                          #HisNameWasSethRich
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2            99           224
                  18.9K Tweets

                  Republican VP                                                  Show this thread
                  7,777 Tweets
                                                                                 Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                               m “Aaron said
                                                                                 No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                 not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                 Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                       4            110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                   Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                   Matt Couch       @RealMattCouch · Jul 25
                                                                                 The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                  med everyone
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                  Ice T
                  23.8K Tweets                                                   not to talk about certain things in the investigation was none other
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                                                                                 brother of Seth Rich, Aaron Rich.

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                                 Cookii  Ads info          3               30              75
                                                                                 Show this thread
                                                          Matt Couch       @RealMattCouch · Dec 29
                                                          Let's now enter into theMatt  Couch
                                                                                   picture one Dov @RealMattCouch   · Aug
                                                                                                   Friedman, roommate    of12
                                                                                                                            Seth Conrad
                                                          Rich...                 Rod  asked about the laptop.. He was told “You don’t need to see
                                                                                                                                                 e that” & when he
                                                                                  asked why not Aaron told him “because I already checked it”
                                                          Dov's story is pretty interesting, and I'm going to tell it next.
                                                                                    Rod asked about the phone & phone Records And was told the ssame thing..
                                                          It's all just coincidences and conspiracies, remember that okay America?
https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                         
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 51
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments           Dov's story is pretty interesting, and I'm going
                                                                                                      aaronto tell it next.
                                                                                                            from:realmattcouch since:2             cccount? Log in
                                                                                                                                          Have an account?

                                                         It's all just coincidences and conspiracies, remember that okay America?
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                         #HisNameWasSethRich

  Top    Latest     People        Photos
                                  Pho
                                    o           Videos        2News         31
                                                                           Broadcasts        66

                                                         Matt Couch      @RealMattCouch · Dec 29
                                                         Ahhhh Yes... Dov Friedman...
                                                                                MattThe roommate
                                                                                      Couch      of Seth Conrad· Rich..
                                                                                              @RealMattCouch     Sep 1
                  Search filters · Hide
                                                                               Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                         He just happened to work for a Turkish Shell Company as a Lobbyist in Turkey...
                  From anyone                                                           17            71            112
                                                         While working for this shell company, he wrote hit pieces on American Kurdish
                                                                                  Show this thread
                  Anywhere                               Allies while in Turkey for their media..

                                                              1             38   Matt Couch
                                                                                         68         @RealMattCouch · Aug 12
                  All languages
                                                                                 Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         Matt Couch              an Israeli Digital
                                                                         @RealMattCouch       · Dec Forensics
                                                                                                    29        Company named Cellebrite?
                  Advanced search                        Dov Friedman is even mentioned in the Podesta emails.. You know, nothing to
                                                                                 Cellebrite
                                                         see here right America, just       is a company in
                                                                                      more coincidences    that  unlocks
                                                                                                              a stack     government cell phones and
                                                                                                                      of coincidences..            d computers for
                                                                                 governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
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                  Want to take
                             e advantage of all
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                   the new Twitter features?
                             Itʼs simple
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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets                                  2             36               68

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        Matt Couch      @RealMattCouch
                                                                                    2      · Dec 29
                                                                                                  99                224
                  18.9K Tweets
                                                         Oh, wait a minute, you mean Dov was #WithHer
                  Republican VP                                                 Show this thread
                  7,777 Tweets
                                                                                  Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                                m “Aaron said
                                                                                  No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                  not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                  Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                        4             110           327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                    Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                    Matt Couch        @RealMattCouch · Jul 25
                                                                                  The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                   med everyone
                                                                                                                                                   m
                  Ice T
                  23.8K Tweets                                                    not to talk about certain things in the investigation was none other
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                                                                                                                                                   h
                                                              1             32    brother65of Seth Rich, Aaron Rich.

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                                    o    Help Center Terms                              5             98            176
                                                     Matt Couch          @RealMattCouch · Dec 29
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                                                         Now would you say it's odd
                                                                                 Showthat
                                                                                       thisDov   Friedman was a massive Hillary Clinton Fan
                                                                                             thread
                                                         and Supporter, yet he claims he didn't know Seth Rich worked for the DNC?
                                                                                 Matt Couch         @RealMattCouch · Aug 12
                                                         Then Dov went to work Rod
                                                                                 for Hillary
                                                                                      asked Clinton   for laptop..
                                                                                              about the    President
                                                                                                                   He3was
                                                                                                                       weeks
                                                                                                                          toldafter
                                                                                                                               “Youthe
                                                                                                                                    don’t need to see
                                                                                                                                                    e that” & when he
                                                         murder?                 asked why not Aaron told him “because I already checked it”

                                                         You just can't make this Rod
                                                                                  stuffasked
                                                                                        up..
                                                                                         p about the phone & phone Records And was told the ssame thing..

                                                              1             47               91
https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                            
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 52
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…
                                                         Then Dov went to work for Hillary Clinton for President 3 weeks after the
                                                         murder?
                      Home             Moments                                                     aaron from:realmattcouch since:2              cccount? Log in
                                                                                                                                        Have an account?

                                                                                         p
                                                         You just can't make this stuff up..
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09
                             1     47   91  until:2019-12-30
                                                      Matt Couch          @RealMattCouch · Dec 29
  Top    Latest     People         Photos
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                                     o          Videos     News           Broadcasts



                                                                                  Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                  Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17            71         112

                                                                                  Show this thread
                   Anywhere

                                                                                  Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                  Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                  an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                                                  governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings


                                                              2             22              49

                                                         Matt Couch       @RealMattCouch · Dec 29




                  Want to take
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                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

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                  Worldwide trends
                            trr
                  #PollThePeople
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2             99         224
                  18.9K Tweets
                                                              1             21              47
                  Republican VP                                                   Show this thread
                  7,777 Tweets
                                                         Matt Couch       @RealMattCouch · Dec 29
                                                                               Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                             m “Aaron said
                                                                               No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                               not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                  Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                       4             110        327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                    Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                    Matt Couch       @RealMattCouch · Jul 25
                                                                                  The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                   med everyone
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                  Ice T
                  23.8K Tweets                                                    not to talk about certain things in the investigation was none other
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                                                                                  brother of Seth Rich, Aaron Rich.

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                                                                                  Matt Couch     @RealMattCouch · Aug 12
                                                                                  Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                                e that” & when he
                                                                                  asked why not Aaron told him “because I already checked it”

                                                              1             19              45
                                                                                  Rod asked about the phone & phone Records And was told the ssame thing..
                                                         Matt Couch       @RealMattCouch · Dec 29
https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                        
12/30/2019          Case
                   Matt       🎙 on Twitter: "In the late summer
                        Couch1:18-cv-00681-RJL              Document       116-2
                                                                of 2017 America        Filed
                                                                                First Media    01/16/20
                                                                                            Group              Page
                                                                                                  would learn of a party 53
                                                                                                                         that of
                                                                                                                              Seth85
                                                                                                                                   Rich went to the night…

                      Home             Moments                                                       aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                             Have an account?



  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                              1            19               45

                                                      Matt Couch      @RealMattCouch · Dec 29
                                                      Here's the biggest one of all...
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos     News       Broadcasts

                                                         #HisNameWasSethRich

                                                                                  Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                  Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                                                         17            71           112

                                                                                  Show this thread
                   Anywhere

                                                                                  Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                  Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                  an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                                                  governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
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                  Want to take
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                   the new Twitter features?
                                                              3            31               63
                             Itʼs simple
                                  simpl – just log in.

                                     Log in
                                     L                   Matt Couch       @RealMattCouch · Dec 29
                                                         Let's review Dov
                                     Sign up
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                                                            Degrees from Columbia & Yale

                                                            Claims he didn't know Seth worked for DNC
                  Worldwide trends
                            trr
                  #PollThePeople                            Moved into House Less than 2 months before Murder
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                         Massive Hillary Clinton Supporter
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                           Worked in Turkey as Turkish Lobbyist
                                                                                       2             99           224
                  18.9K Tweets
                                                            Went to work for Clinton
                                                                                Show3this
                                                                                      weeks  after murder..
                                                                                          thread
                  Republican VP
                  7,777 Tweets
                                                              1            40               79
                                                                                  Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                                m “Aaron said
                                                                                  No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets                           Matt Couch        @RealMattCouch · Dec 29
                                                                                  not to talk about that”
                  Rupi Kaur                              In August of 2017 America First Media would be put in touch with Dallas Multi
                  10.3K Tweets                           Millionaire Financial Mogul Ed Butowsky, who was one of our many sources in
                                                                                  Rod has stated this on many occasions.
                                                         this Investigation. Butowsky paid for the Private Investigator Rod Wheeler for the
                  #MusicCityBowl
                                                         Rich Family. #SethRich        4             110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                1            26     Show this
                                                                                        61 thread

                  #RedboxBowl
                  1,124 Tweets
                                                         Matt Couch       @RealMattCouch
                                                                                 Matt Couch· Dec @RealMattCouch
                                                                                                    29                  · Jul 25
                                                         Ed Butowsky would tell The
                                                                                 multiple
                                                                                      personmembers   of Wheeler
                                                                                               that Rod  America told
                                                                                                                  First Bill
                                                                                                                        Media    that
                                                                                                                             Pierce   theI that had informed
                                                                                                                                    and                  med everyone
                                                                                                                                                         m
                  Ice T                                  parents of Seth Rich, Joel and
                  23.8K Tweets                                                   not  to Mary  told him
                                                                                         talk about      thatthings
                                                                                                     certain  they "knew
                                                                                                                    in the what   their boys
                                                                                                                             investigation    did"
                                                                                                                                            was  none other
                                                                                                                                                        her than the
                                                                                                                                                        h
                                                         and that they didn't care, they wanted
                                                                                 brother   of Sethto know
                                                                                                   Rich,    who Rich.
                                                                                                         Aaron   murdered their son.
                                                         #HisNameWasSethRich
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                                 Cookii  Ads info          1               27               63
                                                                                 Show this thread
                                                         Matt Couch       @RealMattCouch · Dec 29
                                                                                 Matt Couch
                                                         Ed Butowsky also told America           @RealMattCouch
                                                                                        First Media Group that money· Aug  12 into Aaron
                                                                                                                        went
                                                         Rich's bank account via Rod asked He
                                                                                 Wikileaks. about
                                                                                               wasthe
                                                                                                   ourlaptop..
                                                                                                       source He
                                                                                                               on was  told “You
                                                                                                                  this back       don’t of
                                                                                                                             in August  need to see
                                                                                                                                                  e that” & when he
                                                                                 asked and
                                                         2017. He also said that Aaron why Seth
                                                                                            not Aaron  told himand
                                                                                                were involved   “because
                                                                                                                    worked I already checked
                                                                                                                              together on    it”
                                                         the leaking of documents to Wikileaks.
                                                                               Rod asked about the phone & phone Records And was told the ssame thing..
                                                              1            33               66

https://twitter.com/RealMattCouch/status/1211392333306089472                                                                                                            
12/30/2019           Case
                    Matt       🎙 on Twitter: "Ed Butowsky would
                         Couch1:18-cv-00681-RJL            Document
                                                                tell multiple 116-2
                                                                              members ofFiled  01/16/20
                                                                                         America               Page
                                                                                                 First Media that        54 of
                                                                                                                  the parents     85 Rich, Joel and Mar…
                                                                                                                              of Seth
                                                           1           33              66
                      Home            Moments                                                    aaron from:realmattcouch since:2                cccount? Log in
                                                                                                                                        Have an account?

                                                     Matt Couch       @RealMattCouch · Dec 29

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                     America First Media Group has documentation, recordings, phone records, etc.
                                                     That will show when we first started talking to Ed Butowsky in regards to the Seth
                                                     Rich Investigation. We did not start talking to Butowsky in May as Arron Rich's
  Top    Latest     People         Photos
                                   Pho
                                     o         VideosLegal News
                                                           Counsel has   claimed.
                                                                      Broadcasts
                                                           1           24              57

                                                     Matt Couch               Matt Couch· Dec @RealMattCouch
                                                                      @RealMattCouch              29                 · Sep 1
                  Search filters · Hide
                                                                              Odessa
                                                     We believe to this day, and        police
                                                                                  still do     identified
                                                                                           believe  to thisthe
                                                                                                            daygunman
                                                                                                                that Ed as
                                                                                                                        Butowsky  is a Seth Aaron Ator, of Odessa..
                                                                                                                           36-year-old

                   From anyone                       highly successful and credible businessman and media contributor. Ed has
                                                                                   17              71            112
                                                     worked for the likes of Breitbart and Fox News, among others. We do not believe
                                                                              Show
                                                     he is lying about anything      this stated.
                                                                               g he has   thread
                   Anywhere
                                                           1           24            61
                                                                             Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                             Now why was the brother of Seth Rich trying to find people that had contacts to
                                                     Matt Couch      @RealMattCouch · Dec 29
                                                                             an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search                    We never released Ed Butowsky as our source until he did one on one interview
                                                     with The Gateway Pundit and others. We have substantial evidence going back to
                                                                             Cellebrite is a company that unlocks government cell phones andd computers for
                                                     August of 2017 that will prove and show he was our source, as it's the same info
                                                                             governments..
                                                     we've been saying for over a yyear.
                  Related searches
                          searcc
                                                           2           38    Now why
                                                                                  75 would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings                 Matt Couch      @RealMattCouch · Dec 29
                                                     In September of 2017 our own Eddie Graham, The Graham Cracker as we call him
                                                     would uncover something no one else had, it would go viral that month. Hush
                                                     Money...

                                                     Two large payments were made around two very key dates in 2016, in fact so
                                                     coincidental we'll let you decide.

                                                           1           72              132
                  Want to take
                             e advantage of all
                                         Matt Couch        @RealMattCouch · Dec 29
                            Tw
                             w
                   the new Twitter features?
                                         We find it highly coincidental that both of the payments came within 24 hours of
                             Itʼs simple
                                  simpl – just log in. two high profile murders in Washington D.C., which both have connection to the
                                                       DNC.
                                      Log in
                                      L
                                                           5           84              162
                                    Sign up
                                    S
                                                     Matt Couch         @RealMattCouch · 22h
                                                     During the 2016 Presidential Election, the biggest story became how Russia
                                                     “hacked” the election. The “17 intelligence agencies” that Hillary Rodham Clinton
                  Worldwide trends
                            trr                      cited all relied on word from a contracted company, Crowdstrike.
                  #PollThePeople
                  51.7K Tweets                             1           35              60

                  #PresidentSanders
                  #PresidentSande r
                                                     Matt Couch         @RealMattCouch · 22h
                  77K Tweets
                                                     Crowdstrike is a technology company that specializes in cyber-security. Not only
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                    is there conflict of interest with
                                                                                     2 Crowdstrike
                                                                                                99 receiving payments,
                                                                                                              224      campaign data
                  18.9K Tweets
                                                     shows some incredible correlations with the payments that were made.
                  Republican VP                                                Show this thread
                  7,777 Tweets                             1           36              61
                                                                            Matt Couch          @RealMattCouch · Aug 12
                  Syd Mead
                                                     Matt Couch       @RealMattCouch
                                                                            No matter who· 22hRod Wheeler talked to, they would always tell him
                                                                                                                                              m “Aaron said
                  10.5K Tweets
                                                     All payments cited below are
                                                                            not topart
                                                                                   talk of  the Federal
                                                                                        about   that” Election Committee data of
                  Rupi Kaur                          campaign spending on the fec.gov website.
                  10.3K Tweets
                                                                            Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                   4            110           327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                               Show this thread
                  #RedboxBowl
                  1,124 Tweets                                               Matt Couch       @RealMattCouch · Jul 25
                                                                             The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                              med everyone
                                                                                                                                              m
                  Ice T
                  23.8K Tweets                                               not to talk about certain things in the investigation was none other
                                                                                                                                              her than the
                                                                                                                                              h
                                                                             brother of Seth Rich, Aaron Rich.

                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                           5            98            176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                                             Show this thread

                                                                             Matt Couch      @RealMattCouch · Aug 12
                                                        Home - FEC.gov
                                                                             Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                           e that” & when he
                                                        Find what you need to know about the federal campaign finance process.
                                                                             asked why not Aaron told him “because I already checked it”
                                                        Explore legal resources, campaign finance data, help for candidates and ...
                                                        fec.gov
                                                                             Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211407221587873792                                                                                                          
12/30/2019          Case
                   Matt       🎙 on Twitter: "America First Media
                        Couch1:18-cv-00681-RJL              Document       116-2 Filed
                                                                 Group has documentation,    01/16/20
                                                                                          recordings,        Pageetc.
                                                                                                      phone records, 55That
                                                                                                                        of will
                                                                                                                            85show when we first …
                      Home             Moments                1            28              46       aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                          Have an account?

                                                         Matt Couch       @RealMattCouch · 22h
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09       until:2019-12-30
                                    Seth Rich Hush Money?
                                                                              We find it highly coincidental that both of the payments
  Top    Latest     People        Photos
                                  Pho
                                    o           Videos        News        Broadcasts
                                                                              came within 24 hours of two high profile murders in
                                                                              Washington D.C., which both have…
                                                                                thedcpatriot.com
                                                                                  Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                  Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                              1            29              52
                  From anyone                                                         17           71            112
                                                         Matt Couch         @RealMattCouch · 22h
                                                                                   Show this thread
                  Anywhere                               The first payments made were preemptive measures on May 5th, 2016 when the
                                                         DNC was looking to figure out where the breach of security was. Payments made
                                                                                   Matt Couch         @RealMattCouch · Aug 12
                  All languages                          on May 5th, 2016 of $7,650.00 and $1,462.50 were likely paid for Crowdstrike to
                                                                                   Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         install their Falcon software,
                                                                                   an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                              1            35              54
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                         Matt Couch        @RealMattCouch
                                                                                  governments..· 22h
                  Related searches
                          searcc                         Crowdstrike Falcon Software is a stellar technology security suite that would
                                                         identify any internal or external
                                                                                  Now why  security
                                                                                             would breach.
                                                                                                     Aaron Rich need that? #SethRich
                  #packers
                                                              1            27              48
                  packers vs viking
                                  g
                             vikings
                                                         Matt Couch       @RealMattCouch · 22h
                                                         The final email on Wikileaks from the DNC is dated May 25th, 2016. Crowdstrike
                                                         would have had complete knowledge of the party that ripped the emails from
                                                         the server.

                                                              1            34              54

                                                         Matt Couch       @RealMattCouch · 22h
                  Want to take
                             e advantage The
                                          of all
                                             next payment that was made to Crowdstrike occurred on July 11th, 2016 for
                            Tw
                             w
                   the new Twitter features?
                                         the amount of $98,849.84. The relationship to this date happens to be the day
                                                         after DNC Data Director of New Voter Registration Seth Rich was murdered.....
                             Itʼs simple
                                  simpl – just log in.
                                                         #HisNameWasSethRich #SethRich
                                     Log in
                                     L
                                                              1            49              69

                                     Sign up
                                     S
                                                         Matt Couch      @RealMattCouch · 22h
                                                         The final payment to date is August 3rd, 2016. This coincides with another
                                                         murder in the District of Columbia. Shawn Lucas, who died on August 2nd of last
                  Worldwide trends
                            trr                          year, was the DNC Process Server and close friend of Seth Rich.

                  #PollThePeople                              1            47              66
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                      Matt Couch       @RealMattCouch · 22h
                  77K Tweets                             The payment on August 3rd included two checks, one for $113,645.77 and the
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        other for $4,275.00.
                                                                                      2            99            224
                  18.9K Tweets
                                                         We find it highly coincidental
                                                                                  Show that   both of these payments came within 24 hours
                                                                                        this thread
                  Republican VP
                  7,777 Tweets                           of two high profile murders in Washington D.C., which both have connection to
                                                         the DNC.                 Matt Couch        @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                                m “Aaron said
                                                                                  No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets                                2             42            66
                                                                                  not to talk about that”
                  Rupi Kaur
                  10.3K Tweets                           Matt Couch        @RealMattCouch · 22h
                                                                                  Rod has stated this on many occasions.
                                                         We had sat on it for sometime, and been reaching out to this person. She
                  #MusicCityBowl
                                                         continued to ignore our emails,
                                                                                      4 phone calls,110and even business
                                                                                                                 327      cards our Private
                  Western Michiga
                          Michigan                       Investigators left on her doorstep. So we felt it now appropriate to take the next
                  2,874 Tweets                                                    Show this thread
                                                         step if you will.
                  #RedboxBowl
                  1,124 Tweets                                1            26 Matt Couch
                                                                                      50         @RealMattCouch · Jul 25
                                                                              The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                               med everyone
                                                                                                                                               m
                  Ice T                              Matt Couch         @RealMattCouch    · 22h certain things in the investigation was none other
                  23.8K Tweets                                                not to talk about                                                her than the
                                                                                                                                               h
                                                     The Witness, Kristin Oland  worked
                                                                              brother     for a Rich,
                                                                                       of Seth  Contractor
                                                                                                      Aaronthe  CIA uses to hire people.
                                                                                                            Rich.
                                                     She worked for the CIA for close to a decade. If that’s not enough, she has a
                  © 2019 Twitter About
                                  Abo
                                    o    Help Center Terms
                                                     Pilot’s license, worked in Navy
                                                                                   5 Intelligence98before the CIA,
                                                                                                               176 is a Pro MMA Fighter,
                  Privacy policy Cookies
                                 Cookii  Ads info    and oh get this, she’s a Vet Tech.
                                                                              Show this thread
                                                              2            35              56
                                                                              Matt Couch       @RealMattCouch · Aug 12
                                                         Matt Couch           Rod asked about
                                                                       @RealMattCouch    · 22h the laptop.. He was told “You don’t need to seee that” & when he
                                                                              askedto
                                                         Which means she has access why  notgoodies
                                                                                      such   Aaron at
                                                                                                    told him “because
                                                                                                       Fentanyl.       I already
                                                                                                                 Fentanyl is 50 tochecked
                                                                                                                                   100    it”
                                                         times more potent than morphine, but some fentanyl analogues, which are
                                                                               Rod asked abouteffects
                                                         designed to mimic the pharmacological  the phone  & original
                                                                                                      of the phone Records   And
                                                                                                                      drug, may bewas
                                                                                                                                   as told the ssame thing..
                                                         much as 10,000 times more potent
                                                                                   p      than morphine.
https://twitter.com/RealMattCouch/status/1211407225073422336                                                                                                         
12/30/2019          Case
                   Matt       🎙 on Twitter: "America First Media
                        Couch1:18-cv-00681-RJL              Document       116-2 Filed
                                                                 Group has documentation,    01/16/20
                                                                                          recordings,        Pageetc.
                                                                                                      phone records, 56That
                                                                                                                        of will
                                                                                                                            85show when we first …
                                                       g                 p           g                           g        g         y
                                                                              p
                                                    much as 10,000 times more potent than morphine.
                      Home            Moments                                                    aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                         Have an account?
                                                         1             30            52


  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09
                          Matt Couch                    until:2019-12-30
                                     @RealMattCouch · 22h
                                                    Now we know what you’re thinking, why are you telling all of this about her Vet
                                                    Tech job? Well, you should probably look into how Shawn Lucas was found dead
  Top    Latest     People        Photos
                                  Pho
                                    o         Videosin his News      Broadcasts
                                                           home 3 weeks  after the murder of Seth Rich. That will explain a lot here.

                                                         1             34            62
                                                                            Matt Couch         @RealMattCouch · Sep 1
                  Search filters · Hide             Matt Couch       @RealMattCouch      · 22h
                                                                            Odessa police    identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                    So back to the story at hand. Kristin Oland, the lone Witness in the Seth Rich
                  From anyone                                                    17
                                                    murder, didn’t witness the murder.          71 she saw 112
                                                                                         She claims           two Men running into the
                                                    LeDroit Park area. LeDroit Park is the projects in Washington D.C., a very rough
                                                                            Show this thread
                  Anywhere                          neighborhood.
                                                                          Matt Couch         @RealMattCouch · Aug 12
                  All languages                          3             41         62
                                                                          Now why was the brother of Seth Rich trying to find people that had contacts to
                                                    Matt Couch            an Israeli Digital
                                                                     @RealMattCouch    · 22h Forensics Company named Cellebrite?
                  Advanced search                   Now what are the odds that the one person that the Police talked to worked for
                                                                             Cellebrite
                                                    the CIA for a decade, worked   in USis Navy
                                                                                           a company     that unlocks
                                                                                                Intelligence,  is a Progovernment
                                                                                                                        MMA Fighter,cellisphones
                                                                                                                                           a     and
                                                                                                                                                   d computers for
                                                                             governments..
                                                    Pilot, Oh, and a Vet Tech? I’m sure all of this is just highly coincidental, right
                  Related searches
                          searcc                    America?
                                                                             Now why would Aaron Rich need that? #SethRich
                  #packers                               2             45            77

                  packers vs viking
                                  g
                             vikings
                                                    Matt Couch       @RealMattCouch · 22h
                                                    We have exhausted all options to talk to this so called Witness, Plant, whatever
                                                    you want to call her. So we’re releasing this information in hopes that someone
                                                    might know her, and let her know we’d like to speak with her.

                                                         1             37            59

                                                 Matt Couch        @RealMattCouch · 22h
                                                 Enter Donna Brazile and her book "Hacked" talking about how she feared for her
                  Want to take
                             e         advantage life
                                                  of and
                                                      all said she thought "Russian Snipers" were going to take her out..
                            Tw
                             w
                   the new Twitter features?
                                  simpl – just log in. Now what would Russian Snipers want to take you out for Donna?
                             Itʼs simple

                                    Log in
                                    L               She even dedicated her book to SR

                                    Sign up
                                    S               #HisNameWasSethRich

                                                         1             46            67

                  Worldwide trends
                            trr                     Matt Couch        @RealMattCouch · 22h
                  #PollThePeople                    There was a bear involved in the DNC “LEAK” it wasn’t a hack folks, that’s been
                  51.7K Tweets                      debunked by Adam Carter, known as With Integrity on Twitter. Guccifer 2 was a
                                                    fake, and certain Conservative personalities fell for it hook, line, and sinker. Those
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets                        Conservatives look like fools.

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        2             29         2 53          99            224
                  18.9K Tweets

                  Republican VP                     Matt Couch               Show this thread
                                                                       @RealMattCouch    · 22h
                  7,777 Tweets                      On June 14 Debbie invited the Democratic Party officers to a conference call to
                                                                             Matt
                                                    alert us that a story about    Couch
                                                                                hacking  the DNC@RealMattCouch
                                                                                                    that would would · Augbe12
                                                                                                                             published in the
                  Syd Mead
                                                                             No matter
                                                    Washington Post the following    day.who
                                                                                           ThatRod
                                                                                                callWheeler
                                                                                                     was the talked
                                                                                                             first timeto, we’d
                                                                                                                           they would
                                                                                                                                heard that          m “Aaron said
                                                                                                                                      always tell him
                  10.5K Tweets
                                                    there was a problem. -DB not to talk about that”
                  Rupi Kaur
                  10.3K Tweets                           1             33    Rod has55stated this on many occasions.
                  #MusicCityBowl
                                                     Matt Couch       @RealMattCouch
                                                                                  4      · 22h 110            327
                  Western Michiga
                          Michigan
                                                     Debbie’s tone was so casual that I had not absorbed the details, nor even
                  2,874 Tweets                                               Show this thread
                                                     thought that it was much for us to be concerned about. Her manner indicated
                  #RedboxBowl                        that this hacking thing was something she had covered. But had she?” -DB
                  1,124 Tweets                                               Matt Couch         @RealMattCouch · Jul 25
                                                           1            28   The person
                                                                                     58 that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                              med everyone
                                                                                                                                              m
                  Ice T
                  23.8K Tweets                                               not to talk about certain things in the investigation was none other
                                                                                                                                              her than the
                                                                                                                                              h
                                                     Matt Couch       @RealMattCouch     · 22hRich, Aaron Rich.
                                                                             brother of Seth
                                                     Debbie Wasserman Schultz would claim that the FBI never contacted her about
                  © 2019 Twitter About
                                  Abo
                                    o    Help Center Terms                                       98 book will 176
                                                                                  5 Brazile in her
                                                     the DNC leaks or hacks. Donna                            state that also isn’t true.
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                     We now know that the DNCShow this thread the FBI look at the servers.
                                                                                  refused  to let

                                                         1             49            80
                                                                          Matt Couch      @RealMattCouch · Aug 12
                                                    Matt Couch     @RealMattCouch · 22h the laptop.. He was told “You don’t need to see
                                                                          Rod asked about                                              e that” & when he
                                                                          asked why
                                                    For a whole month, CrowdStrike  not Aaron
                                                                                   watched Cozytold
                                                                                                Bearhim “because
                                                                                                      and        I already
                                                                                                          Fancy Bear       checked it”
                                                                                                                      operating.
                                                    Cozy Bear was the hacking force that had been in the DNC system for nearly a
                                                    year.” -DB             Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211407225073422336                                                                                                         
12/30/2019           Case
                    Matt       🎙 on Twitter: "America First Media
                         Couch1:18-cv-00681-RJL              Document       116-2 Filed
                                                                  Group has documentation,    01/16/20
                                                                                           recordings,        Pageetc.
                                                                                                       phone records, 57That
                                                                                                                         of will
                                                                                                                             85show when we first …
                                                         For a whole month, CrowdStrike watched Cozy Bear and Fancy Bear operating.
                      Home             Moments           Cozy Bear was the hacking force that had been
                                                                                                  aaron in  the DNC systemsince:2
                                                                                                         from:realmattcouch for nearly a Have an account?
                                                                                                                                                  cccount? Log in
                                                         year.” -DB


  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09
                          Who                                  until:2019-12-30
                              are these bears she’s talking about? One couldn’t have been a Panda could
                                                         it?

  Top    Latest     People         Photos
                                   Pho
                                     o          Videos         1News       37
                                                                          Broadcasts       63

                                                         Matt Couch          @RealMattCouch · 22h
                                                         Let's talk a little bit about _ _ _Couch
                                                                                    Matt     _ _ shall we?
                                                                                                        @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                    Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                         This person _ _ _ _ _ constantly told everyone who had information regarding the
                   From anyone                           case not to talk about it. We've 17 confirmed71  that from multiple
                                                                                                                     112     sources.

                                                                              Show this thread
                   Anywhere                              Now what would be the reason for that, why would _ _ _ _ _ do that?

                                                               1           34      Matt Couch
                                                                                            54         @RealMattCouch · Aug 12
                   All languages
                                                                                   Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         Matt Couch                an Israeli Digital
                                                                            @RealMattCouch       · 22h Forensics Company named Cellebrite?
                  Advanced search                        _ _ _ _ _ would open up a Go Fund Me to raise $200,000 and get what we thought
                                                         was finally serious aboutCellebrite   is amurder
                                                                                     solving the    company   that unlocks
                                                                                                           of Seth  Rich. government cell phones and
                                                                                                                                                   d computers for
                                                                                   governments..
                  Related searches
                          searcc                         _ _ _ _ _ then it would just fizzle out as quickly as it started. Lawsuits would start
                                                                                   Nowwould
                                                         being filed, and Gag orders      why would    Aaron Rich need that? #SethRich
                                                                                                be sent..
                  #packers
                  packers vs viking
                                  g
                             vikings




                  Want to take
                             e advantage of all
                            Tw
                             w
                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

                                     Log in
                                     L

                                     Sign up
                                     S




                  Worldwide trends
                            trr
                                                               1           31              57
                  #PollThePeople
                  51.7K Tweets
                                                         Matt Couch     @RealMattCouch · 22h
                  #PresidentSanders
                  #PresidentSande r                      Now why would _ _ _ _ _ _ _ _ _ ask on his personal Facebook page if anyone he
                  77K Tweets                             knew had any connections to the Israeli Digital Forensics Company known as
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        Cellebright?
                                                                                       2            99          224
                  18.9K Tweets

                  Republican VP                                                  Show
                                                         Seems like an interesting    this thread
                                                                                   questions, doesn't it America?
                  7,777 Tweets
                                                         #HisNameWasSethRich Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                           m “Aaron said
                                                                             No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                             not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                 Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                       4            110         327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                   Show this thread
                  #RedboxBowl
                  1,124 Tweets                                                   Matt Couch       @RealMattCouch · Jul 25
                                                                                 The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                  med everyone
                                                                                                                                                  m
                  Ice T
                  23.8K Tweets                                                   not to talk about certain things in the investigation was none other
                                                                                                                                                  her than the
                                                                                                                                                  h
                                                                                 brother of Seth Rich, Aaron Rich.

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                                 Abo
                                   o   Help Center Terms                               5            98          176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                                                 Show this thread

                                                                                 Matt Couch     @RealMattCouch · Aug 12
                                                                                 Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                               e that” & when he
                                                                                 asked why not Aaron told him “because I already checked it”

                                                                                 Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211407225073422336                                                                                                          
12/30/2019           Case
                    Matt       🎙 on Twitter: "_ _ _ _ _ would Document
                         Couch1:18-cv-00681-RJL                             116-2
                                                              open up a Go Fund        Filed
                                                                                Me to raise    01/16/20
                                                                                            $200,000          Page
                                                                                                     and get what      58 ofwas
                                                                                                                  we thought 85finally serious about …
                      Home             Moments                                                       aaron from:realmattcouch since:2                 cccount? Log in
                                                                                                                                             Have an account?



  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos        News        Broadcasts
                                                              1            42              72

                                                         Matt Couch        @RealMattCouch · 22h
                                                                                   Matt Couch        @RealMattCouch · Sep 1
                  Search filters · Hide                  Cellebright is an Israeli Digital Forensics Company that unlocks government
                                                                                   Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                         computers and cell phones.. Now why would _ _ _ _ _ _ _ _ _ need this in
                   From anyone                           February of 2017?               17           71          112

                                                                                   Show
                                                         Also, Is it coincidence that _ _ _this
                                                                                             _ _ thread
                                                                                                  opened the Go Fund Me Account one month
                   Anywhere
                                                         after asking about this?
                                                                                   Matt Couch          @RealMattCouch · Aug 12
                   All languages
                                                                                   Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                                   an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                                                  Cellebrite is a company that unlocks government cell phones and
                                                                                                                                                d computers for
                                                                                  governments..
                  Related searches
                          searcc
                                                                                  Now why would Aaron Rich need that? #SethRich
                  #packers
                  packers vs viking
                                  g
                             vikings




                  Want to take
                             e advantage of all
                            Tw
                             w
                   the new Twitter features?
                             Itʼs simple
                                  simpl – just log in.

                                     Log in
                                     L

                                     Sign up
                                     S



                                                              1            34              56
                  Worldwide trends
                            trr
                  #PollThePeople                         Matt Couch        @RealMattCouch · 22h
                  51.7K Tweets                           Let's recap for a minute..
                  #PresidentSanders
                  #PresidentSande r
                  77K Tweets                             _ _ _ _ _ asks if anyone has any connections to the Israeli Digital Forensics
                                                         Company Cellebright in February of 2017..
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                      2             99           224
                  18.9K Tweets
                                                         In March of 2017... StartsShow
                                                                                    a Gothis
                                                                                         Fund  Me to raise $200,000 to solve the murder of
                                                                                             thread
                  Republican VP
                  7,777 Tweets
                                                         Seth Rich..
                                                                                  Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead                               Coincidence Patriots?                                                                  m “Aaron said
                                                                                  No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                  not to talk about that”
                  Rupi Kaur                                   1            33              57
                  10.3K Tweets
                                                         Matt Couch              Rod has stated
                                                                          @RealMattCouch       · 22hthis on many occasions.
                  #MusicCityBowl
                                                         So in a span of a month... _ _ _ _ _ asks for help with anyone having connections
                                                                                       4               110         327
                  Western Michiga
                          Michigan                       to cellebright which unlocks government phones/laptops..
                  2,874 Tweets                                                   Show this thread
                  #RedboxBowl                            One month later _ _ _ _ _ starts a go fund me to raise $200,000 in order to help
                  1,124 Tweets                           solve the murder of SethMatt   Couch
                                                                                   Rich...         @RealMattCouch · Jul 25
                                                                                 The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                  med everyone
                                                                                                                                                  m
                  Ice T
                  23.8K Tweets                           #SethRich               not to talk about certain things in the investigation was none other
                                                                                                                                                  her than the
                                                                                                                                                  h
                                                                                 brother of Seth Rich, Aaron Rich.
                                                              1            32              70
                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                               5             98           176
                  Privacy policy Cookies
                                 Cookii  Ads info        Matt Couch      @RealMattCouch · 22h
                                                                                Show this thread
                                                         I traveled to Omaha, Nebraska the hometown of Seth Rich to ask some questions
                                                         along with
                                                                                Matt Couch      @RealMattCouch · Aug 12
                                                         @JFlippo1327
                                                                                Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                              e that” & when he
                                                          on our team.
                                                                                asked why not Aaron told him “because I already checked it”

                                                         We went to the Beth El Synagogue, and I went live on Periscope from the parking
                                                                                  Rod asked about the phone & phone Records And was told the ssame thing..
                                                         lot to discuss with our followers.

https://twitter.com/RealMattCouch/status/1211447126225571840                                                                                                            
12/30/2019           Case
                    Matt       🎙 on Twitter: "So in a span of Document
                         Couch1:18-cv-00681-RJL               a month... _ _ _ 116-2
                                                                               _ _ asks forFiled  01/16/20
                                                                                           help with anyone havingPage   59 of
                                                                                                                   connections     85
                                                                                                                               to cellebright which unlock…

                      Home            Moments        Matt Couch      @RealMattCouch · 22h aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                Have an account?
                                                     I traveled to Omaha, Nebraska the hometown of Seth Rich to ask some questions
                                                     along with
  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                     @JFlippo1327
                                                      on our team.

  Top    Latest     People         Photos
                                   Pho
                                     o         VideosWe went
                                                           News        Broadcasts
                                                               to the Beth El Synagogue, and I went live on Periscope from the parking
                                                     lot to discuss with our followers.

                                                                          Matt Couch
                                                     Multiple Women with Scissors came after@RealMattCouch
                                                                                             us             · Sep 1
                  Search filters · Hide
                                                                          Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                           3            37             81
                   From anyone                                                    17           71           112
                                                     Matt Couch       @RealMattCouch · 22h
                                                                              Show this thread
                   Anywhere                          You can watch this via my Periscope
                                                     @RealMattCouch
                                                                              Matt Couch         @RealMattCouch · Aug 12
                   All languages                      back in the summer of 2017.
                                                                              Now why was the brother of Seth Rich trying to find people that had contacts to
                                                                              an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search                    These women came out of the Synagogue armed with scissors and threatening
                                                     Josh (Former Military) and I to leave the Synagogue, and even demanded our
                                                                              Cellebrite is a company that unlocks government cell phones andd computers for
                                                     video. It was appalling. #SethRich
                                                                              governments..
                  Related searches
                          searcc                           1            27             72
                                                                           Now why would Aaron Rich need that? #SethRich
                  #packers                           Matt Couch      @RealMattCouch · 22h
                  packers vs viking
                                  g
                             vikings                 We spoke to the Funeral Home, as well as people that traveled back with the
                                                     body from Washington, D.C.

                                                     No one was willing to talk about any details other than he was murdered on July
                                                     10th, and buried on July 13th..

                                                     Everyone in Omaha is silent on Seth Rich.. #SethRich

                                                           2            37             72
                  Want to take
                             e advantage of all
                                         Matt Couch       @RealMattCouch · 22h
                            Tw
                             w
                   the new Twitter features?
                                         We were sitting in a little local diner in Omaha, and were talking with a local
                             Itʼs simple
                                  simpl – just log in. about the weather, sports, etc. We then asked them about the Seth Rich murder,
                                                       his response says it all..
                                      Log in
                                      L

                                                     Local: "Yeah, I've heard about that"
                                    Sign up
                                    S

                                                     AFMG: "Anything you can tell us"

                  Worldwide trends
                            trr                      Local: "Hell No"
                  #PollThePeople
                                                           2            35             82
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                  Matt Couch         @RealMattCouch · 22h
                  77K Tweets                         In August of 2018 America First Media Group with our sources would reveal
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                    another first in the Seth Rich case.
                                                                                  2            99           224
                  18.9K Tweets

                  Republican VP                      Both Former DNC HeadShow
                                                                            Donna  this thread
                                                                                     Brazile, and Washington, D.C. Mayor Muriel
                  7,777 Tweets                       Bowser were at the hospital the night that Seth Rich was brought in via
                                                     ambulance. #SethRich Matt Couch           @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                         m “Aaron said
                                                                           No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                         2            47            91 about that”
                                                                           not to talk
                  Rupi Kaur
                  10.3K Tweets                       Matt Couch       @RealMattCouch · 22h
                                                                             Rod has stated this on many occasions.
                  #MusicCityBowl                     America First Media's sources tell us that they arrived within minutes of Seth Rich
                                                     arriving via ambulance.     4              110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                              Show this thread
                                                     We aren't accusing Ms. Brazile or Mrs. Bowser of any wrong doing.
                  #RedboxBowl
                  1,124 Tweets                                              Matt Couch        @RealMattCouch · Jul 25
                                                     We're just asking who notified them, as that person is a person of interest.
                                                                            The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                             med everyone
                                                                                                                                             m
                  Ice T
                  23.8K Tweets                                              not to talk about certain things in the investigation was none other
                                                                                                                                             her than the
                                                                                                                                             h
                                                     #SethRich
                                                                            brother of Seth Rich, Aaron Rich.
                                                           2            57             115
                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                          5            98           176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                     Matt Couch       @RealMattCouch    · 22h
                                                                             Show this thread
                                                     The real question is why would the former Head of the DNC Donna Brazile (Co
                                                     Chair at the time) and Washington
                                                                             Matt CouchD.C. Mayor   Muriel Bowser
                                                                                              @RealMattCouch       be 12
                                                                                                               · Aug  at the hospital
                                                     and notified of a "DNC Staffers"
                                                                             Rod askedmurder
                                                                                        aboutas the
                                                                                              the   mainstream
                                                                                                  laptop.. He wasmedia  would
                                                                                                                  told “You   call need to see
                                                                                                                            don’t            e that” & when he
                                                     him..                   asked why not Aaron told him “because I already checked it”

                                                     Why?                    Rod asked about the phone & phone Records And was told the ssame thing..


https://twitter.com/RealMattCouch/status/1211447161013047296                                                                                                     
12/30/2019           Case
                    Matt       🎙 on Twitter: "So in a span of Document
                         Couch1:18-cv-00681-RJL               a month... _ _ _ 116-2
                                                                               _ _ asks forFiled  01/16/20
                                                                                           help with anyone havingPage   60 of
                                                                                                                   connections     85
                                                                                                                               to cellebright which unlock…

                      Home             Moments                                                         aaron from:realmattcouch since:2                   cccount? Log in
                                                                                                                                                 Have an account?
                                                         Why?


  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                          Why?

                                                         Why?
  Top    Latest     People         Photos
                                   Pho
                                     o          Videos     News            Broadcasts
                                                      #SethRich

                                                              6                98          155
                                                                                Matt Couch      @RealMattCouch · Sep 1
                  Search filters · Hide
                                                         Matt Couch             Odessa police
                                                                           @RealMattCouch     identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                                                          · 22h
                   From anyone                           So let's recap, shall we, I'll try to cap this at 200 Tweets for this thread. It's by far
                                                                                           17            71          112
                                                         the largest one that we've ever done. Thanks for reading it, and we'll continue to
                                                         add to it as we can.      Show this thread
                   Anywhere

                                                         Do America First Media Matt  Couch
                                                                                a favor  and SHARE @RealMattCouch    · Aug
                                                                                                      these Tweets. We     12your help!
                                                                                                                        need
                   All languages
                                                                                Now why was the brother of Seth Rich trying to find people that had contacts to
                                                             2            69            136
                                                                                an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                         Matt Couch     @RealMattCouch · 22h
                                                                               Cellebrite is a company that unlocks government cell phones and
                                                                                                                                             d computers for
                                                         Seth Rich Murdered July 10th, 2016
                                                                               governments..
                  Related searches
                          searcc                         CIC Shotspotter reports Shots fired at Flagler Block at 4:19 AM Alerts Police to
                                                                                Now why would Aaron Rich need that? #SethRich
                  #packers                               the Shooting and they respond
                  packers vs viking
                                  g
                             vikings
                                                         However No BOLO (Lookout) has ever been established, which is the first thing
                                                         that you would do in a shooting,
                                                                                       g #SethRich

                                                              3                64          112

                                                         Matt Couch     @RealMattCouch · 22h
                                                         The Botched Robbery Narrative they're trying to paint

                                                         Seth Rich still had
                  Want to take
                             e advantage of all
                            Tw
                             w
                   the new Twitter features?His Wallet
                             Itʼs simple
                                  simpl – just log in.
                                                            His Cash
                                     Log in
                                     L
                                                            His Credit Cards
                                     Sign up
                                     S
                                                            His Watch

                                                            His Phones
                  Worldwide trends
                            trr
                  #PollThePeople                            His Necklace
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                         Nothing was taken
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        Now why did Police get a warrant
                                                                                    2     and go 99
                                                                                                 to his house 224
                                                                                                              around 9:00 AM for
                  18.9K Tweets                           botched robbery?
                  Republican VP                                                Show this thread
                  7,777 Tweets                                6                92          152
                                                                               Matt Couch        @RealMattCouch · Aug 12
                  Syd Mead                               Matt Couch     @RealMattCouch     · 22hRod Wheeler talked to, they would always tell him
                                                                               No matter who                                                    m “Aaron said
                  10.5K Tweets
                                                         Why would you issue a warrant  forabout
                                                                               not to talk  a botched
                                                                                                  that”robbery?
                  Rupi Kaur
                  10.3K Tweets                           Why?                       Rod has stated this on many occasions.
                  #MusicCityBowl
                                                         We have a ton of Homicide Detectives,
                                                                                     4          LEO's,
                                                                                                  110 and others
                                                                                                              327on our team, and none
                  Western Michiga
                          Michigan
                  2,874 Tweets
                                                         of them have ever heard of that before..
                                                                               Show this thread
                  #RedboxBowl                      If it's a botched robbery, why issue the Warrant to retrieve his Computer and
                  1,124 Tweets                                              Matt Couch       @RealMattCouch · Jul 25
                                                   Phones?
                                                                            The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                             med everyone
                                                                                                                                             m
                  Ice T
                  23.8K Tweets                            4            88   not to talk
                                                                                    174 about certain things in the investigation was none other
                                                                                                                                             her than the
                                                                                                                                             h
                                                                            brother of Seth Rich, Aaron Rich.
                                                   Matt Couch         @RealMattCouch · 22h
                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                         5            98            176
                                                   We've never seen...
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                                                Show this thread
                                                         The Body Cams from four of the six officers that responded to the shooting of
                                                         Seth Rich..            Matt Couch       @RealMattCouch · Aug 12
                                                                                Rod asked about the laptop.. He was told “You don’t need to see   e that” & when he
                                                         We've never seen the video from
                                                                                asked whythe
                                                                                           notFlagler
                                                                                                Aaronmarket   that
                                                                                                       told him    police told
                                                                                                                 “because       the family
                                                                                                                           I already  checked it”
                                                         about..
                                                                                Rod asked about the phone & phone Records And was told the ssame thing..
                                                         We've never seen the autopsy report, which we know exists..

https://twitter.com/RealMattCouch/status/1211447161013047296                                                                                                                
12/30/2019           Case
                    Matt       🎙 on Twitter: "So in a span of Document
                         Couch1:18-cv-00681-RJL               a month... _ _ _ 116-2
                                                                               _ _ asks forFiled  01/16/20
                                                                                           help with anyone havingPage   61 of
                                                                                                                   connections     85
                                                                                                                               to cellebright which unlock…
                                                         We've never seen the autopsy report, which we know exists..
                      Home             Moments                                                        aaron from:realmattcouch since:2                cccount? Log in
                                                                                                                                             Have an account?

                                                         #SethRich

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09
                             2     95   193 until:2019-12-30
                                                      Matt Couch      @RealMattCouch · 22h
  Top    Latest     People         Photos
                                   Pho
                                     o          VideosWe'veNews      Broadcasts
                                                            never seen....

                                                         The Toxicology Report....
                                                                                 Matt Couch        @RealMattCouch · Sep 1
                  Search filters · Hide
                                                                                 Odessa
                                                         The Phone Records.. Which  _ _ _police  identified
                                                                                          _ _ refuses       the anyone,
                                                                                                      to show   gunmanwhy
                                                                                                                        as 36-year-old
                                                                                                                            is that?   Seth Aaron Ator, of Odessa..

                   From anyone                                                         17            71            112
                                                         We now know that Seth Rich had 2 Cell Phones, one that he got 1 week before
                                                                              Show
                                                         he was murdered. Where     thisrecords
                                                                                are the  thread to that phone as well? #SethRich
                   Anywhere
                                                              1             88          169
                                                                                Matt Couch         @RealMattCouch · Aug 12
                   All languages
                                                                                Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         Matt Couch      @RealMattCouch · 22h
                                                                                an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search                        The most guarded city in the World in the Information and Technology age and
                                                         we're expected to believe that not one video exists of Seth Rich on the
                                                                                Cellebrite is a company that unlocks government cell phones andd computers for
                                                         night/early morning that he was murdered..
                                                                                governments..
                  Related searches
                          searcc                         ATM's nearby wiped with a Malware Virus.. of course they were
                                                                               Now why would Aaron Rich need that? #SethRich
                  #packers
                                                         #HisNameWasSethRich
                  packers vs viking
                                  g
                             vikings
                                                              6             102             183

                                                         Matt Couch        @RealMattCouch · 22h
                                                         Alright... Recapping now..

                                                 -Botched Robbery, Nothing was Taken
                                                 -Still had his Wallet, Credit Cards, Cash, Phones, Watch, Necklace on him
                                                 -No Video Exists Anywhere other than the Flagler Market, D.C. Police took it and
                  Want to take
                             e         advantage now
                                                 of all claim it either doesn't exist or can't show it..
                            Tw
                             w
                   the new Twitter features?
                                                              2             77              137
                             Itʼs simple
                                  simpl – just log in.
                                                         Matt Couch       @RealMattCouch · 22h
                                     Log in
                                     L
                                                         -Four of the Six Officers were wearing body cams. D.C. Police Privacy Officer Liz
                                                         Lyons says they've either been deemed not relevant or misplaced. D.C. Police's
                                     Sign up
                                     S
                                                         own General Orders state they must be kept 65 years for murder.
                                                         -Not one officer has ever spoke
                                                                                     p    about shooting

                                                              2             86              144
                  Worldwide trends
                            trr
                  #PollThePeople                         Matt Couch      @RealMattCouch · 22h
                  51.7K Tweets                           They hid the Hospital for over a year, we uncovered the Hospital, EMT's,
                  #PresidentSanders
                  #PresidentSande r                      Ambulance, as well as the Doctor.
                  77K Tweets                             -We now know they hid the hospital because Washington, D.C. Mayor Muriel
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                        Bowser and DNC Head Donna Brazile were at the hospital that night. Who
                                                                                      2            99          224
                  18.9K Tweets                           notified them?
                  Republican VP                                                  Show this thread
                                                              5             146             229
                  7,777 Tweets
                                                                                 Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead                               Matt Couch        @RealMattCouch · 22h
                                                                                                                                               m “Aaron said
                                                                                 No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets                           -Seth Rich was taken to Medstar Hospital by Ambulance #17 of DCFEMS at
                                                                                 not to talk about that”
                  Rupi Kaur                              arrived at 4:48 AM. DCFEMS arrived on the scene at 04:33 AM.
                  10.3K Tweets                           -Dr. Christine Trankiem renowned Trauma Surgeon operated on Seth Rich during
                                                                                 Rod has stated this on many occasions.
                                                         emergency surgery and p  pronounced him dead at 05:57 AM July 10th
                  #MusicCityBowl
                                                                                       4             110           327
                  Western Michiga
                          Michigan                            2             86              150
                  2,874 Tweets                                                     Show this thread
                                                         Matt Couch       @RealMattCouch · 22h
                  #RedboxBowl
                  1,124 Tweets                           The D.C. Police had a witness   named Kristin
                                                                                   Matt Couch            Oland who worked
                                                                                                     @RealMattCouch             for the CIA, was a
                                                                                                                          · Jul 25
                                                         Vet Tech, and a Pilot, also anperson
                                                                                   The  MMA Fighter.
                                                                                                that RodShe  just happened
                                                                                                          Wheeler              to be walking
                                                                                                                    told Bill Pierce          her
                                                                                                                                      and I that had informed
                                                                                                                                                          med everyone
                                                                                                                                                          m
                  Ice T
                                                         dogs at 4:30AM and claims not she sawabout
                                                                                       to talk   two men   running
                                                                                                      certain thingsinto  theinvestigation
                                                                                                                      in the   LeDroit Park was
                                                                                                                                             areanone other
                                                                                                                                                         her than the
                                                                                                                                                         h
                  23.8K Tweets
                                                         of Washington, D.C. nearby. y
                                                                                   brother  of Seth Rich, Aaron Rich.

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                                 Abo
                                   o   Help Center Terms 2                  69         5 135         98            176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                         Matt Couch             Show this thread
                                                                           @RealMattCouch  · 22h
                                                         In a message delivered to me from a little birdie in the Ecuadorian Embassy..
                                                                                Matt Couch        @RealMattCouch · Aug 12
                                                                                Rodon
                                                         JA: "I could buy something asked
                                                                                       eBayabout   the laptop..
                                                                                            and have             He was
                                                                                                        it delivered    told
                                                                                                                     here,    “You don’t need to see
                                                                                                                           right?"                 e that” & when he
                                                                                asked why not Aaron told him “because I already checked it”
                                                         Source: "Sure"
                                                                                  Rod asked about the phone & phone Records And was told the ssame thing..
                                                         JA: "I'm not saying that's how it happened, but I could do that" Smirking
https://twitter.com/RealMattCouch/status/1211447161013047296                                                                                                             
12/30/2019          Case
                   Matt       🎙 on Twitter: "We've never seen....
                        Couch1:18-cv-00681-RJL             Document         116-2
                                                                  The Toxicology       Filed
                                                                                 Report....     01/16/20
                                                                                            The Phone Records..Page
                                                                                                               Which _62
                                                                                                                      _ _ _of 85 to show anyone…
                                                                                                                            _ refuses
                                                         JA: "I could buy something on eBay and have it delivered here, right?"
                      Home             Moments                                                        aaron from:realmattcouch since:2            cccount? Log in
                                                                                                                                         Have an account?

                                                         Source: "Sure"

  aaron from:realma
        from:realmattcouch
                  a         since:2019-07-09 until:2019-12-30
                          JA: "I'm not saying that's how it happened, but I could do that" Smirking


  Top    Latest     People         Photos
                                   Pho
                                     o          Videos#HisNameWasSethRich
                                                           News    Broadcasts

                                                             2              79             146

                                                                                 Matt Couch· 22h @RealMattCouch · Sep 1
                  Search filters · Hide                  Matt Couch       @RealMattCouch
                                                                                 Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..
                                                         Ty Clevenger has filed preservation letters for both eBay and PayPal in regards to
                   From anyone                           anything Seth Rich or Aaron 17
                                                                                      Rich have done71
                                                                                                       on the websites.
                                                                                                                 112    It would make
                                                         sense that Assange paid them through that website, and used PayPal, you could
                                                                                 Showy this
                                                         list anything and send money..     thread
                                                                                        #SethRich
                   Anywhere

                                                             1              63    Matt Couch
                                                                                          125        @RealMattCouch · Aug 12
                   All languages
                                                                                  Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         Matt Couch        @RealMattCouch      · 22h Forensics Company named Cellebrite?
                                                                                  an Israeli Digital
                  Advanced search                        We now know that Seth Rich went to the Wonderland ballroom after leaving
                                                         Lou's City Bar.. We also know  that is
                                                                                  Cellebrite  hea went to a nearby
                                                                                                  company          McDonald's
                                                                                                            that unlocks       to getcell
                                                                                                                         government   food.
                                                                                                                                          phones and
                                                                                                                                                   d computers for
                                                                                   governments..
                                                         We're investigating and have sent letters to the McDonald's for preservation.
                  Related searches
                          searcc
                                                         We'll reveal that locationNow
                                                                                    in due
                                                                                        whytime.
                                                                                             would Aaron Rich need that? #SethRich
                  #packers
                                                             1              71             130
                  packers vs viking
                                  g
                             vikings
                                                         Matt Couch    @RealMattCouch · 22h
                                                           Missing Body Cams

                                                            Missing Flagler Market Video

                                                            No Autopsy Report

                                                            No Video
                  Want to take
                             e advantage of all
                            Tw
                             w
                   the new Twitter features?No Toxicology Report
                             Itʼs simple
                                  simpl – just log in.
                                                            No Ballistics Report
                                     Log in
                                     L
                                                            Nothing Taken in Botched Robbery
                                     Sign up
                                     S
                                                            Warrant for Laptops & Phones


                  Worldwide trends
                            trr                             Sy Hersh Audio

                  #PollThePeople
                                                            PayPal & eBay
                  51.7K Tweets

                  #PresidentSanders
                  #PresidentSande r                         Assange Video
                  77K Tweets

                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                           Suing AFMG                 2              99           224
                  18.9K Tweets

                  Republican VP
                                                             3              102    Show this
                                                                                         157thread

                  7,777 Tweets
                                                         Matt Couch     @RealMattCouch
                                                                              Matt Couch· 22h @RealMattCouch · Aug 12
                  Syd Mead                                 Silenced Sean Hannity                                                            m “Aaron said
                                                                              No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                               not to talk about that”
                  Rupi Kaur                                 Silenced Rod Wheeler
                  10.3K Tweets
                                                                                Rod has stated this on many occasions.
                  #MusicCityBowl                            GM of Lou's City Bar Changed his story
                                                                                       4              110          327
                  Western Michiga
                          Michigan
                  2,874 Tweets                              Lied about Hospital
                                                                                   Show this thread
                  #RedboxBowl
                                                            Sued Fox News       Matt Couch       @RealMattCouch · Jul 25
                  1,124 Tweets
                                                                                The person that Rod Wheeler told Bill Pierce and I that had informed
                                                                                                                                                 med everyone
                                                                                                                                                 m
                  Ice T                                     Mayor Bowser at Hospital
                  23.8K Tweets                                                  not to talk about certain things in the investigation was none other
                                                                                                                                                 her than the
                                                                                                                                                 h
                                                                                brother of Seth Rich, Aaron Rich.
                                                            Donna Brazile at Hospital
                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                               5              98           176
                  Privacy policy Cookies
                                 Cookii  Ads info           Broken up with Girlfriend during Murder
                                                                                 Show this thread

                                                           _ _ _ _ _ has told everyone
                                                                                  y    not to talk
                                                                                  Matt Couch       @RealMattCouch · Aug 12
                                                             3              97    Rod asked
                                                                                        156 about   the laptop.. He was told “You don’t need to see
                                                                                                                                                  e that” & when he
                                                                                  asked why not Aaron told him “because I already checked it”
                                                         Matt Couch        @RealMattCouch · 22h
                                                           Branded it a ConspiracyRodso
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                                                                                        no one  willthe phone
                                                                                                     want       & about
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https://twitter.com/RealMattCouch/status/1211448702558261249                                                                                                          
12/30/2019           Case
                    Matt       🎙 on Twitter: "👉Silenced Sean
                         Couch1:18-cv-00681-RJL           Document      116-2RodFiled
                                                             Hannity 👉Silenced  Wheeler01/16/20
                                                                                        👉GM of Lou'sPage
                                                                                                    City Bar63 of 85his story 👉Lied abo…
                                                                                                            Changed
                                                       97 Retweets 156 Likes
                      Home             Moments                                                      aaron from:realmattcouch since:2               cccount? Log in
                                                                                                                                          Have an account?

                                                            3             97             156

  aaron from:realma
        from:realmattcouch
                  a        since:2019-07-09 until:2019-12-30
                                                     Matt Couch      @RealMattCouch · 22h
                                                       Branded it a Conspiracy so no one will want to talk about it
  Top    Latest     People         Photos
                                   Pho
                                     o         Videos     News       Broadcasts
                                                          Suing anyone who gets to close to the truth

                                                                                Matt Couch        @RealMattCouch      · Sep  1 members
                  Search filters · Hide                   Hiring paid trolls to attack the financials of the past of our  team
                                                                                Odessa police identified the gunman as 36-year-old Seth Aaron Ator, of Odessa..

                   From anyone                            Making threats with anonymous individuals to our team that have been
                                                                                  17           71           112
                                                       turned over
                                                                              Show this thread
                   Anywhere                                 1             90             154
                                                                            Matt Couch         @RealMattCouch · Aug 12
                   All languages                       Matt Couch     @RealMattCouch · 22h
                                                                            Now why was the brother of Seth Rich trying to find people that had contacts to
                                                         Seth Rich & Shawn Lucas Hush Money paid to Crowdstrike
                                                                            an Israeli Digital Forensics Company named Cellebrite?
                  Advanced search
                                                           Same Clinton Lawyer that paid for Fusion GPS, and British Spy Christopher
                                                                                 Cellebrite is a company that unlocks government cell phones and
                                                                                                                                               d computers for
                                                       Steele also hired Crowdstrike to investigate the DNC Server breach while not
                                                                                 governments..
                                                       letting the FBI look at the DNC Servers
                  Related searches
                          searcc
                                                                             Now why would Aaron Rich need that? #SethRich
                  #packers                                FOIA requests Denied
                  packers vs viking
                                  g
                             vikings                        3             116            177

                                                       Matt Couch         @RealMattCouch · 22h
                                                           They've made it so that no one in the Mainstream Media will have the
                                                       testicular fortitude to touch this case because they'll be labeled a "Conspiracy
                                                       Theorist" or "Pushing Right Wing Conspiracies"

                                                          Everything we have p
                                                                             presented in this thread is 100% true and factual

                  Want to take
                             e advantage of all
                                             3                            78             160

                            Tw
                             w
                   the new Twitter features?
                                         Matt Couch                      @RealMattCouch · 22h
                             Itʼs simple
                                  simpl – just log in. If after reading all of this, you still believe this was a botched robbery, you
                                                       obviously also believe that the earth is flat..
                                      Log in
                                      L

                                                       Folks, the evidence is insurmountable, and we've turned many things over to
                                    Sign up
                                    S
                                                       those in the Rayburn building.

                                                       We will continue to pursue Justice
                  Worldwide trends
                            trr
                                                            9             91             231
                  #PollThePeople
                  51.7K Tweets
                                                       Matt Couch        @RealMattCouch · 22h
                  #PresidentSanders
                  #PresidentSande r                    If you would like to support my fight for the truth, you can do so below my
                  77K Tweets                           friends. Thanks for those that do!
                  #2020WillBeTheYearFor
                  #2020WillBeTheY
                                Y                                                    2             99            224
                  18.9K Tweets

                  Republican VP                                                 Show this thread
                  7,777 Tweets
                                                                                Matt Couch       @RealMattCouch · Aug 12
                  Syd Mead
                                                                                                                                              m “Aaron said
                                                                                No matter who Rod Wheeler talked to, they would always tell him
                  10.5K Tweets
                                                                                not to talk about that”
                  Rupi Kaur
                  10.3K Tweets
                                                                                Rod has stated this on many occasions.
                  #MusicCityBowl
                                                                                     4             110           327
                  Western Michiga
                          Michigan
                  2,874 Tweets                                                  Show this thread
                  #RedboxBowl
                  1,124 Tweets                                              Matt Couch       @RealMattCouch · Jul 25
                                                         Click here to support
                                                                            TheInvestigations andWheeler
                                                                                 person that Rod  Reporting
                                                                                                         told organized    by Mat…
                                                                                                              Bill Pierce and I that had informed
                                                                                                                                              med everyone
                                                                                                                                              m
                  Ice T                                  Matt Couch Investigations
                  23.8K Tweets                                               not toand
                                                                                    talkReporting  The things
                                                                                         about certain  DC Patriot is investigation
                                                                                                              in the   Real News inwas none other
                                                                                                                                              her than the
                                                                                                                                              h
                                                         Real Time. We're a New  Brand
                                                                             brother  of of Media.
                                                                                         Seth Rich,We  Investigate,
                                                                                                    Aaron  Rich.    Report, and have
                                                         gofundme.com
                  © 2019 Twitter About
                                 Abo
                                   o   Help Center Terms                             5             98            176
                  Privacy policy Cookies
                                 Cookii  Ads info
                                                            6             97    Show this
                                                                                      143thread

                                                                            Matt Couch     @RealMattCouch · Aug 12
                                                          Lisa    @my2sonznme · 22h
                                                                            Rod asked about the laptop.. He was told “You don’t need to see
                                                                                                                                          e that” & when he
                                                       Replying to @RealMattCouch
                                                                            asked why not Aaron told him “because I already checked it”
                                                       Silenced Hannity?!
                                                                                Rod asked about the phone & phone Records And was told the ssame thing..
                                                            1                            5


https://twitter.com/RealMattCouch/status/1211448718580486144                                                                                                         
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                                                                     Page 1
             UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA

                           -   -   -

     AARON RICH,                   : Civil Action No.
                                   :
                   Plaintiff,      : 1:18-cv-00681
              v.                   :
                                   :
     EDWARD BUTOWSKY,              :
     MATTHEW COUCH, and            :
     AMERICA FIRST MEDIA,          :
                                   :
                   Defendants.     :



                           -   -   -

                   AUDIO TRANSCRIPTION

                           -   -   -



                      Audio transcription of Ed
     Butowsky ACWT Interview (July 30, 2019).




                           -   -   -
                   MAGNA LEGAL SERVICES
                      (866) 624-6221
                      www.MagnaLS.com
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                                    Page 2                                       Page 4
 1          - - -                             1   very successful financial advisor,
 2        DEBORA GEORGATOS: So what           2   a former Fox Business Network
 3    we're going to focus on today is:       3   commentator.
 4    What exactly really happened with       4        One cool thing of the many
 5    the access to the DNC server? And       5   things he did, he worked with
 6    on that topic, we're going to turn      6   Morgan Stanley. He has a great
 7    to the subject of Seth Rich.            7   financial career. One thing he
 8         We talked about Seth Rich          8   did I thought was interesting
 9    just a few weeks -- or last week,       9   reading about him, he tried to
10    I think it was, in connection with     10   help athletes. He -- he had a
11    a lawsuit filed by Ed Butowsky who     11   little bit of his practice focused
12    lives in the Texas -- in North         12   on helping athletes be a little
13    Texas, right near us, and he, in       13   bit smarter with their money.
14    his lawsuit, recounted his             14        And so I thought it was a
15    experience in finding out that         15   brilliant thing because we always
16    Julian Assange, the WikiLeaks          16   hear stories, athletes paid
17    guru/founder, had told a friend of     17   millions, and then they -- they're
18    Ed's who told him that that hack       18   broke. And you think, How can
19    into the DNC server, that the          19   that have happened? Because
20    e-mail access from the DNC server      20   they --
21    did not come from a foreign hack,      21        ED BUTOWSKY: Well, that's
22    like the media and the left was        22   actually the name of my
23    trying to sell, but instead came       23   documentary. "Broke." It was on
24    internally.                            24   ESPN. It was a part of the 30 for
                                    Page 3                                       Page 5
 1        Somehow, that hack                  1   30 series. And it came from an
 2    happened -- or that access to           2   article we did in Sports
 3    those e-mails that were then            3   Illustrated with Pablo Torre --
 4    shared with WikiLeaks happened          4        DEBORA GEORGATOS: Okay.
 5    inside -- from someone inside the       5        ED BUTOWSKY: -- called "How
 6    FBI, which leads us to Seth Rich,       6   and Why Athletes Go Broke." So
 7    the DNC staffer who was murdered        7   that's what I do. And -- but at
 8    in Washington DC.                       8   the same time, as you -- as
 9        And now I'm going to turn           9   everyone's going to hear in a
10    and invite you -- introduce my         10   little bit, how the hell did I get
11    guest for the show today, Ed           11   involved with this?
12    Butowsky.                              12        DEBORA GEORGATOS: Well,
13        ED BUTOWSKY: Hi.                   13   that's -- we're going to go right
14        DEBORA GEORGATOS: Hi.              14   to that point right now.
15        ED BUTOWSKY: Great                 15        So Ed Butowsky got involved
16    introduction.                          16   in this because he has a friend
17        DEBORA GEORGATOS: Well,            17   named Ellen Ratner. And you may
18    thank you. I'm so glad that            18   have heard her name discussed in
19    you're here. I actually am going       19   the media many times. But I want
20    to do a touch more introduction of     20   to just start with your first
21    you.                                   21   conversation with Ellen Ratner,
22        Ed Butowsky is a -- as I           22   what she told you about her time
23    mentioned, he lives here in North      23   meeting with Julian Assange in
24    Texas. He's a financial advisor,       24   London.




                                                                2 (Pages 2 to 5)
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                                    Page 6                                    Page 8
 1        ED BUTOWSKY: Sure. And to           1   me. And I didn't know who Julian
 2    understand, this isn't somebody I       2   was. I didn't know she knew
 3    just met. Ellen and I are very          3   Julian Assange.
 4    good friends. I've known Ellen          4       DEBORA GEORGATOS: Um-hm.
 5    for many years. I met her in the        5       ED BUTOWSKY: She said, Oh,
 6    green room because I had done Fox       6   well, my brother Michael had
 7    News for -- one of those                7   passed away, and they dedicated a
 8    commentators for about eight            8   building to him in Berlin. And on
 9    years, unpaid. Met her in the           9   the way back from Berlin, she
10    green room in Washington. And we       10   stopped at the Ecuadorian embassy
11    were talking, and she told me          11   and met with Julian Assange. And
12    about a company she had.               12   she said, Julian told me three
13        And she quickly -- anybody         13   things: One, the password to
14    that knows Ellen knows that            14   Podesta's e-mails was "password";
15    there's no secrets, although there     15   the password to the DNC server was
16    is now. But Ellen is an open           16   "change"; and that Seth Rich was
17    book, and Ellen will tell you          17   the one who downloaded the DNC
18    everything. And she just said, I       18   e-mails and sold them to
19    have this company. I don't make        19   WikiLeaks.
20    any money. I'm losing all this         20       And Julian wanted her to
21    money. So I naturally just wanted      21   contact Joel and Mary Rich. All
22    to help her out.                       22   right? I didn't know the parents,
23        Over the last five, six            23   the Rich parents -- to let them
24    years, we've gone to the point of      24   know what had happened. And the
                                    Page 7                                    Page 9
 1    having Thanksgiving dinner              1   reason that she said that they --
 2    together, going on different trips      2   that he wanted that is because he
 3    around the country, going to            3   knew that the Washington police
 4    different events. So Ellen and I        4   wasn't investigating, wasn't
 5    became very, very close.                5   helping, and thought that they
 6        She also knew some other            6   needed to know and should know
 7    things that I had been involved         7   what happened to their son.
 8    with, so she felt very comfortable      8        Now, not that there's a
 9    opening up her business and asking      9   connection, because we don't know
10    me for help, which I never got         10   if there's a connection between
11    paid, never asked to get paid.         11   his murder and the e-mails. What
12    And she also felt very comfortable     12   he wanted them to know was that
13    sharing secrets with me.               13   the e-mails that he got came from
14        DEBORA GEORGATOS: So get           14   them. She asked me --
15    to -- tell us please what did she,     15        DEBORA GEORGATOS: Excuse
16    Ellen Ratner, tell you -- and she      16   me. Julian -- to confirm that
17    had a meeting with Julian Assange      17   first point. Julian Assange
18    in London, the head of WikiLeaks,      18   wanted the parents of Seth Rich to
19    the founder of WikiLeaks. What         19   know that the e-mails WikiLeaks
20    did she tell you he said?              20   had from the DNC came to WikiLeaks
21        ED BUTOWSKY: So one day            21   from Seth Rich.
22    we're together and she -- and she      22        ED BUTOWSKY: That is
23    said to me -- she said, You            23   precisely --
24    wouldn't believe what Julian told      24        DEBORA GEORGATOS: Okay.




                                                              3 (Pages 6 to 9)
 Case 1:18-cv-00681-RJL Document 116-2 Filed 01/16/20 Page 68 of 85

                                   Page 10                                   Page 12
 1        ED BUTOWSKY: -- 100 percent         1       DEBORA GEORGATOS: Right.
 2    correct. That's what she told me.       2       ED BUTOWSKY: And I'm very
 3        She asked me to get ahold of        3   strong about that. So I felt that
 4    them. I said, No. I said, I             4   way as well here.
 5    don't have any interest in getting      5       And I finally called up. I
 6    involved with any of this stuff.        6   spoke to them, told them, and
 7        And then I started seeing on        7   Joel -- the very first thing Joel
 8    television -- and this is what          8   said was, Ed, we know, you know,
 9    really got to me. Over and over         9   all of this. We -- we don't need
10    and over again watching                10   to know anything more. We just
11    television, you kept hearing that      11   want to know who murdered Seth.
12    Trump and Vladimir Putin somehow       12       And I said, Oh.
13    together coordinated to steal the      13       He says, We don't want
14    e-mails from the DNC.                  14   people to know about this because
15        DEBORA GEORGATOS: Yeah.            15   we're trying to keep Seth's name
16        ED BUTOWSKY: And I'm               16   out from being the person who got
17    thinking, Well, what in the world      17   Donald Trump elected.
18    is going on here? So I -- every        18       You know, people don't
19    once in a while I would call up        19   understand this, Deb -- Debbie.
20    Ellen and say, Why don't you say       20   That most people don't realize,
21    something?                             21   you know, what is going on with
22        And she told me she's told         22   the Riches. I mean, the Riches
23    many people.                           23   know very well that they're --
24        And I said, Okay. Why isn't        24   and -- and Aaron is involved to
                                   Page 11                                   Page 13
 1    anybody reporting it?                   1   some degree.
 2         She said, No one's -- no           2       DEBORA GEORGATOS: Aaron is
 3    one's reporting it. No one wants        3   Seth's brother.
 4    to talk about it.                       4       ED BUTOWSKY: Seth's
 5         So then it was December the        5   brother. But let's just focus on
 6    16th, I finally reached out to the      6   Seth at this moment.
 7    Rich family. And I had a phone          7       People don't realize that
 8    call with them December 17th. So        8   this family's just trying to
 9    on the 17th of December, I had a        9   preserve so their -- their son's
10    phone call with the Riches. And        10   name doesn't go down in history as
11    at the very beginning of the phone     11   the guy who got Donald Trump
12    call I told them, you know, how        12   elected. Because some people
13    sorry I felt for them. I had a         13   believe these e-mails were what
14    son who just went to school. And       14   swayed the election.
15    if anybody knew anything about my      15       DEBORA GEORGATOS: They
16    son that I didn't know, I'd kill       16   certainly didn't hurt, anyway.
17    them.                                  17       ED BUTOWSKY: Right. And
18         And that's the way I feel.        18   so -- so that's the reason. So
19    Just like if somebody was over at      19   Joel is very focused on one thing:
20    my house and the kid was 16 years      20   Who murdered my son? Aaron --
21    old and drinking a beer, I would       21       DEBORA GEORGATOS: I want to
22    behind the kid's back tell his         22   jump in and ask --
23    parents because I shouldn't know       23       ED BUTOWSKY: -- and Joel --
24    something they don't know.             24   and Mary, whole other story.




                                                           4 (Pages 10 to 13)
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                                 Page 14                                      Page 16
 1        DEBORA GEORGATOS: Okay.           1       And we just made small talk.
 2    And I want to jump in and I want      2   And the phone call lasted 30
 3    to ask. So in this first              3   minutes. But at the end of the
 4    conversation, did it seem like the    4   call, Mary Rich said to me, Ed, if
 5    dad was -- this is Seth Rich's        5   you ever learn anything, let me
 6    dad --                                6   know.
 7        ED BUTOWSKY: Um-hm.               7       And I'm thinking, I'm not
 8        DEBORA GEORGATOS: -- and I        8   going to learn anything. All I
 9    meant to say to our listeners, he     9   did was communicate a message.
10    was murdered on July 10, 2016, in    10       So about a week later I was
11    Washington DC. If you didn't         11   talking to a friend of mine named
12    follow the story, two shots to the   12   Larry Johnson. Larry's a former
13    back. Very late at night/early       13   CIA operative, NSA, one of
14    morning. Nothing stolen, wallet      14   those -- one of those people that
15    not taken. All of that. And he       15   do secretive things. And I was
16    was -- and the murder remains        16   trying to help him find a
17    unsolved. This is obviously over     17   connection in the government where
18    three years ago.                     18   he might be able to sell -- there
19        ED BUTOWSKY: Not only            19   was a widget of some kind that he
20    unsolved but uninvestigated.         20   was trying to sell.
21        DEBORA GEORGATOS:                21       And at the end of that phone
22    Uninvestigated. Okay. But when       22   call -- this is to tell you how
23    you first talked to the dad --       23   strange life is. At the end of
24        ED BUTOWSKY: Um-hm.              24   that phone call I said, you know,
                                 Page 15                                      Page 17
 1        DEBORA GEORGATOS: -- was he       1   By the way, have you ever heard of
 2    assuming that his son's murder had    2   this Seth Rich, WikiLeaks,
 3    nothing to do with what he did at     3   blah-blah-blah?
 4    the DNC downloading these e-mails?    4       He said, Well, yeah. I have
 5        ED BUTOWSKY: Never really         5   a friend of mine, he's actually
 6    discussed that. All he said was,      6   trying to get a story published
 7    I don't want to discuss e-mails,      7   and can't. His name's Sy Hersh.
 8    WikiLeaks. I want to know who         8       And I said, Oh.
 9    murdered my son.                      9       He says, You know who Sy
10        DEBORA GEORGATOS: So what        10   Hersh is?
11    did you do with that information?    11       And I said, I have -- really
12        ED BUTOWSKY: Well, then          12   don't know. I -- I might have
13    what happened was, I didn't think    13   heard his name somewhere.
14    much was going to occur. We -- we    14       And he said, Well, Sy has
15    then played Jewish Geography.        15   everything about it and is trying
16    This is what Jews do. We just sit    16   to get a story published and no
17    around and talk about who knows      17   one will publish it. He said, You
18    who. And we did that for a little    18   want Sy to call you?
19    while. And then we talked about      19       I said, Please. Have him
20    Omaha. I thought it was amazing      20   call me.
21    that there were Jews in Omaha.       21       So Sy -- one day I get a
22    That'll tell you what a New York     22   phone call, and this guy's talking
23    Jew, you know, thinks about Omaha.   23   really fast. But he's calling me
24    Right? But I had no idea.            24   to share information with me. And




                                                          5 (Pages 14 to 17)
 Case 1:18-cv-00681-RJL Document 116-2 Filed 01/16/20 Page 70 of 85

                                  Page 18                                   Page 20
 1    all I care about at this point is      1   Sy Hersh say in relation to the
 2    I can get some information and         2   FBI file about Seth Rich? He --
 3    share it over with Joel and Mary       3   did he -- was he aware that there
 4    Rich.                                  4   was some acknowledge -- that the
 5         So as he's talking -- he's        5   FBI knows that Seth Rich was the
 6    talking so fast and my handwriting     6   one who got the --
 7    is so bad -- you can see right         7        ED BUTOWSKY: Have you
 8    here how bad my handwriting is --      8   listened to it?
 9    I just hit Voice Memo. My kids         9        DEBORA GEORGATOS: I --
10    had just taught me how to do this.    10   halfway through. I had to get
11    And I thought this was the            11   ready for the show.
12    greatest thing in the world on        12        ED BUTOWSKY: Okay.
13    iPad. I can just tape people. So      13        DEBORA GEORGATOS: But you
14    I taped him.                          14   tell me. Give me the summary.
15         And he just went on and on       15        ED BUTOWSKY: Yes. The
16    and on, talking about the FBI,        16   answer is yes. Absolutely. Not
17    talking about the FBI file,           17   only that, he talks about how many
18    talking about what is in the FBI      18   e-mails, he talks about the -- the
19    file.                                 19   actual e-mails themselves, how
20         DEBORA GEORGATOS: About          20   much he was asking, how he was
21    Seth Rich.                            21   going to get them to him through a
22         ED BUTOWSKY: About Seth          22   Dropbox. This is not a secret.
23    Rich.                                 23        The problem is: People
24         DEBORA GEORGATOS: Okay.          24   don't want -- as you said in your
                                  Page 19                                   Page 21
 1        ED BUTOWSKY: About, you            1   opening -- to admit what has
 2    know, the e-mails and what he went     2   happened. What -- what happened
 3    through. And anybody can go right      3   was real simple. That one little
 4    from this YouTube channel and go       4   part of Russia and so on that the
 5    right over to Seymour Hersh or go      5   Dems and the liberals and whoever
 6    to a site called                       6   the deep state wanted to blame on
 7    DebunkingRodWheelersClaims.net.        7   the Russians and Trump didn't
 8    There's two recordings there. One      8   happen.
 9    of them I redacted my voice            9       DEBORA GEORGATOS: Okay. So
10    completely and redacted some          10   this guy, Sy Hersh, is saying he
11    things Sy said, because Sy is not     11   personally saw the e-mails that
12    very kind to some people. But         12   were from --
13    then the whole version is up there    13       ED BUTOWSKY: No, no. He
14    also. About 26 minutes. And           14   was told by a very senior person
15    anybody who wants to listen to it     15   at the FBI.
16    can listen to it.                     16       DEBORA GEORGATOS: FBI.
17        And I've never said anything      17   That -- okay. Yeah. So he --
18    negative about Sy Hersh. Sy Hersh     18   that person said on Seth Rich's
19    goes around saying things about       19   e-mail -- on his computer are
20    me, and he should only say what a     20   e-mails reflecting he was making
21    jerk Ed Butowsky is for taping me.    21   the effort to sell these e-mails
22    But I've never said anything else.    22   he got from the DNC to WikiLeaks.
23        DEBORA GEORGATOS: Okay.           23       ED BUTOWSKY: Right.
24    But -- so we don't -- so what does    24       DEBORA GEORGATOS: Through




                                                          6 (Pages 18 to 21)
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                                 Page 22                                    Page 24
 1    his Dropbox.                          1       EELCO BOSCH VAN ROSENTHAL:
 2         ED BUTOWSKY: He gave them a      2   But why make a suggestion about a
 3    little sampling of it at first,       3   young guy being shot in the
 4    and they looked through all the       4   streets of Washington?
 5    e-mails. They gave a little           5       JULIAN ASSANGE: Because we
 6    sampling of the e-mails that he       6   have to understand how high the
 7    took from the DNC, then he sold       7   stakes are in the United States,
 8    the rest of them.                     8   and that our sources are -- you
 9         DEBORA GEORGATOS: Okay. I        9   know, our sources face serious
10    want to quick go -- Matt, the        10   risks. That's why they come to
11    extremely wonderful producer. We     11   us, so we can protect their
12    have a quick clip I want to play.    12   anonymity.
13    This is Julian Assange on August     13       EELCO BOSCH VAN ROSENTHAL:
14    19th. And again, Julian Assange      14   But it's quite something to
15    being the founder of WikiLeaks. I    15   suggest a murder. That's
16    want to play a quick clip of an      16   basically what you're doing.
17    interview that he did related to     17       JULIAN ASSANGE: Well,
18    Seth Rich.                           18   that -- others have -- have
19         JULIAN ASSANGE: WikiLeaks       19   suggested that. We are
20    never sits on material.              20   investigating to understand what
21    Whistleblowers go to significant     21   happened in that situation with
22    efforts to get us material at        22   Seth Rich. I think it is a
23    often very significant risks.        23   concerning situation. There's not
24    This is a 27-year-old that works     24   a conclusion yet. We wouldn't be
                                 Page 23                                    Page 25
 1    for the DNC, was shot in the back,    1   willing to state a conclusion, but
 2    murdered, just two weeks ago for      2   we are concerned about it.
 3    unknown reasons as he was walking     3        DEBORA GEORGATOS: Okay.
 4    down the street in Washington.        4   The reason I wanted to play that
 5    So --                                 5   is because this interview you're
 6        EELCO BOSCH VAN ROSENTHAL:        6   watching with Julian Assange, the
 7    That was -- that was just a           7   founder of WikiLeaks, was August
 8    robbery, I believe. Wasn't it?        8   9th of 2016. It's just -- not
 9        JULIAN ASSANGE: No.               9   even a month after Seth Rich's
10    There's no finding. So that's the    10   murder.
11    sort of --                           11        So if Julian Assange did not
12        EELCO BOSCH VAN ROSENTHAL:       12   get those e-mails from Seth Rich,
13    What are you suggesting? What are    13   why is he talking about it -- and
14    you suggesting?                      14   you can hear the questioner
15        JULIAN ASSANGE: I'm              15   saying, Why are we even talking
16    suggesting that our sources take     16   about this? So is it, one, a form
17    risks and they -- they become        17   of independent verification that
18    concerned to see things occurring    18   even Julian Assange is trying to
19    like that.                           19   tell people, Hey, I got these from
20        EELCO BOSCH VAN ROSENTHAL:       20   Seth Rich.
21    But was he one of your sources       21        Now let's go back to you,
22    then? I mean --                      22   Mr. Butowsky. So you have this
23        JULIAN ASSANGE: We don't         23   information. You've talked to
24    comment on who our sources are.      24   Seth's parents. They already knew




                                                          7 (Pages 22 to 25)
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 1    that their son was doing this.          1   If people accept that Seth Rich
 2    Just want to find the murderer.         2   gave those e-mails to WikiLeaks,
 3        You eventually hired an             3   then they are -- they believe,
 4    investigator to try to figure this      4   they are agreeing, that there's
 5    out; is that right?                     5   some implication that somehow the
 6        ED BUTOWSKY: Well, let              6   DNC or someone connected with them
 7    me -- let me make a point based on      7   was responsible for his murder.
 8    that video.                             8   They don't want attention on the
 9        DEBORA GEORGATOS: Yeah.             9   murder. And that is why they're
10        ED BUTOWSKY: Anybody who           10   saying, Well -- they -- they just
11    doesn't believe that Seth Rich         11   want to keep the story in the
12    sold the e-mails to WikiLeaks          12   public's mind that this all had to
13    doesn't want to believe what's         13   do --
14    right in front of them. I mean,        14       ED BUTOWSKY: That --
15    we're sitting here playing around      15   that -- that could be and -- and,
16    with this because the press --         16   you know, we all hear different
17    which hopefully --                     17   things. I have no idea who
18        DEBORA GEORGATOS: Right.           18   murdered Seth Rich. I have no
19        ED BUTOWSKY: -- we'll get          19   idea any of that. And quite
20    to -- hasn't -- hasn't decided to      20   honestly, I -- I didn't ever
21    investigate and report on this.        21   expect to get involved with this
22    But Julian Assange -- and I know       22   thing. But since I'm in it and
23    this for a fact. I know 100            23   everything that's happened to me
24    percent certain -- I'd sell both       24   since, which I hope we can touch
                                   Page 27                                   Page 29
 1    my kids -- actually, I'd probably       1   on, I'm not backing down. I'm
 2    just sell my kids anyway -- but I       2   sitting here right now and telling
 3    would put my kids up -- the             3   you.
 4    e-mails were sold by Seth Rich to       4        So you asked me a question
 5    WikiLeaks. He did it through            5   about hiring somebody. That's not
 6    different -- different channels.        6   what occurred.
 7    But that's what happened. So            7        At the -- after I sent the
 8    let's -- let's stop playing games       8   audio recording to the Riches, I
 9    around here.                            9   was very upset that they didn't
10          But that's what everyone is      10   thank me. Okay?
11    doing. And they're doing that          11        DEBORA GEORGATOS: You sent
12    because they're -- they were           12   the audio recording of Sy Hersh?
13    trying to find a way to get Trump      13        ED BUTOWSKY: Of Sy Hersh.
14    out of office or before he got         14   I'm sorry.
15    into office. And -- and that's         15        DEBORA GEORGATOS: Okay.
16    what this was -- that's what this      16        ED BUTOWSKY: Once I sent
17    whole thing is about. But let's        17   the audio recording of Sy Hersh,
18    stop playing games. That's what        18   they didn't thank me. And I just
19    everyone's doing. It's really          19   thought that was rude. I -- I
20    annoying.                              20   just thought -- I could not
21          DEBORA GEORGATOS: Well,          21   believe that I sent -- you know, I
22    I'll tell you why they're playing      22   got this guy and I got them
23    games -- to go back to my point a      23   something that I thought would be
24    moment ago -- I think -- which is:     24   helpful, and you would expect if




                                                           8 (Pages 26 to 29)
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                                  Page 30                                     Page 32
 1    they were being very honest,           1   they didn't say thank you.
 2    Mr. and Mrs. Rich, they would have     2       And instead of saying what
 3    gone out of their way to thank me      3   normally would happen, Oh, my
 4    profusely. Because when you            4   goodness, Ed. That is so nice of
 5    listen to that, there's a lot of       5   you to offer. We could never
 6    information --                         6   accept. We barely know you.
 7         DEBORA GEORGATOS: Yeah.           7   That's what's --
 8         ED BUTOWSKY: -- that would        8       DEBORA GEORGATOS: Yeah.
 9    help them understand what possibly     9       ED BUTOWSKY: -- supposed to
10    happened or what their son was        10   happen. All right? That didn't
11    involved with.                        11   happen. What do they say? Thank
12         So I called them up about        12   you.
13    three weeks later. You know,          13       And I just went, Oh, my
14    they -- they said they -- they        14   goodness. What did I just do?
15    acknowledged they got file, but       15   What did I commit to? And I
16    they never said anything more.        16   couldn't say, Hey, I was just
17    Three weeks later I said, Hey.        17   kidding. So I interviewed seven
18    You know, how about a nice thank      18   different -- you know, as opposed
19    you. How about an attaboy or          19   to this nonsense lawsuit that came
20    something. Okay? Because it just      20   at me, which hopefully we'll have
21    seemed weird.                         21   a chance to talk about -- I
22         And they said, Yeah, we got      22   interviewed seven different
23    it.                                   23   private detectives. Found out
24         I said, Was it helpful?          24   that if you want to hire a private
                                  Page 31                                     Page 33
 1         And they said, Not really.        1   detective in Washington, it's
 2         And I'm thinking, How in the      2   going to cost you between 150 and
 3    world could that not be helpful?       3   $250 an hour.
 4         They -- they were like, No.       4        So I eventually had someone
 5    It really didn't tell us anything.     5   refer me over to a guy named Rod
 6         I'm thinking, It told you         6   Wheeler. And I texted with Rod
 7    everything.                            7   and we spoke.
 8         DEBORA GEORGATOS: It didn't       8        And Rod -- I will tell
 9    tell them who killed their son.        9   you -- nice guy. All right?
10         ED BUTOWSKY: Right.              10   Everything fall -- fell apart
11         DEBORA GEORGATOS: That's         11   later, but great guy. Actually,
12    their point.                          12   you know, he's a nice person. Did
13         ED BUTOWSKY: And that's the      13   a good job. I mean, I don't know
14    point. Okay? And I'm happy you        14   how to compare because I've never
15    picked up on that, Debbie.            15   had a private detective before.
16         So then I said, Why don't        16   But uncovered a lot of stuff. And
17    you hire a private detective, at      17   a lot of that stuff is at
18    the end of the conversation.          18   DebunkingRodWheelersClaims.net.
19         And Joel -- Mary Rich said,      19   But he -- he worked.
20    We couldn't afford one.               20        And then things unraveled at
21         And I said, I'll pay for it.     21   some point and very few people on
22         Now, I never intended to say     22   any radio show that I've done have
23    any of those things. I just           23   ever really talked about it, which
24    called because it was weird that      24   I -- hopefully we get a moment to




                                                           9 (Pages 30 to 33)
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                                 Page 34                                   Page 36
 1    because I would like you to. But      1   the entire Trump-Russia collusion.
 2    the point is that Rod Wheeler did     2   Many people in America, if you ask
 3    a good job.                           3   them what got that started, Oh,
 4         I did not hire Rod, by the       4   because the Russians hacked into
 5    way. Joel and Mary Rich did. I        5   the DNC server. That's what most
 6    agreed to pay the bill. Okay?         6   people would say. So I want to
 7         DEBORA GEORGATOS: Yeah.          7   ask -- that kicked it off.
 8    Yeah.                                 8        So during the entire course
 9         ED BUTOWSKY: I never got a       9   of the Mueller investigation, did
10    bill. I gave Rod $5,000 right at     10   anyone from the Mueller
11    the beginning, but not to work.      11   investigation reach out to you to
12    He was -- literally, he was dead     12   ask you about your interaction
13    broke and he needed to pay his       13   about Ellen Ratner, what she said
14    bills. And I said, Here. Here's      14   to you, what you said to the
15    some money. And I'm not a rich       15   Riches?
16    guy, as opposed to what everyone     16        ED BUTOWSKY: No. What's
17    says in the press. I'm far from a    17   ironic about it is I called them
18    rich guy. But I gave him some        18   and offered myself up. But I'll
19    money because I felt bad for him.    19   tell you, every time a black SUV
20         He started working after        20   drove by, I got -- kind of got a
21    Joel and Mary Rich and their son     21   little scared.
22    Aaron and the wife -- Aaron's        22        DEBORA GEORGATOS: You --
23    wife, Molly -- negotiated a          23   you --
24    contract. And I include her          24        ED BUTOWSKY: There's a lot
                                 Page 35                                   Page 37
 1    because she's an attorney, and      1     of black SUVs in Dallas.
 2    that's the fax machine I think      2         DEBORA GEORGATOS: Yeah,
 3    they used going back and forth.     3     there are. So you called to offer
 4    Eventually they came to an          4     what you knew.
 5    agreement on March the 14th. It     5         ED BUTOWSKY: Oh,
 6    was March the 14th, 2017. And       6     absolutely.
 7    that's when they agreed.            7         DEBORA GEORGATOS: They
 8         But way before that Rod had    8     said, No, thank you.
 9    already started working. He knew    9         ED BUTOWSKY: No. Nobody
10    lots of people in the homicide     10     ever got back to me.
11    department. And I thought he did   11         DEBORA GEORGATOS: Okay.
12    a fine job until he screwed        12     How about anyone from, like, the
13    everything up on May 15th.         13     DC police? Any -- any federal or
14         DEBORA GEORGATOS: Okay. We 14        state agency? Anyone ever call to
15    will get to that. But I do want    15     find out what happened?
16    to ask -- because the point --     16         ED BUTOWSKY: No. I
17    I -- I want to try as much as we   17     called -- I called -- Joey
18    can to litigation and all that,    18     DellaCamera was assigned as the
19    but I want to get a couple of      19     detective in Washington. I called
20    points really clear.               20     Joey probably -- I would say 15
21         Number one --                 21     times. Never had a phone call
22         ED BUTOWSKY: Sure.            22     back. Chief of Police Newsham,
23         DEBORA GEORGATOS: -- so       23     called him. Never heard back from
24    here you have Mueller looking into 24     him.




                                                        10 (Pages 34 to 37)
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                                 Page 38                                     Page 40
 1         DEBORA GEORGATOS: So they        1   of Ellen Ratner -- just quick --
 2    just didn't really want to hear       2   quick short clip of her.
 3    what you were having to say,          3       ELLEN RATNER: I -- I spent
 4    apparently.                           4   three hours with Julian Assange on
 5         ED BUTOWSKY: In fact,            5   Saturday at the Ecuadorian embassy
 6    you're the only person who -- who     6   in London.
 7    will talk to me.                      7       MARC BERNIER: Yeah. Get
 8         DEBORA GEORGATOS: Well,          8   this. Listen to this. Go ahead.
 9    I -- you know, I'll tell you. I'm     9       ELLEN RATNER: Well, I did.
10    into truth. At the end of the        10       MARC BERNIER: Yeah.
11    story, I want truth, I want          11       ELLEN RATNER: But one of
12    justice --                           12   the things he did say is that the
13         ED BUTOWSKY: Right.             13   leaks were not from -- they were
14         DEBORA GEORGATOS: --            14   not from the Russians. They were
15    because they matter.                 15   an internal source from the
16         So your friend Ellen Ratner,    16   Hillary campaign or from -- from
17    who is the one who had the           17   somebody that knew Hillary, an
18    conversation with Assange, she       18   enemy. He does not think they're
19    told you what Assange said, that     19   from Russians. And he said Russia
20    he got the e-mails from Seth Rich.   20   got credit for something WikiLeaks
21    Do you think the FBI ever reached    21   should have gotten credit for.
22    out to her in the course of the      22       MARC BERNIER: Well...
23    Mueller investigation to ask her?    23       DEBORA GEORGATOS: Okay.
24         ED BUTOWSKY: No. Because        24   That was -- that was Ellen Ratner,
                                 Page 39                                     Page 41
 1    nobody knew about Ellen until this    1   the same woman we were talking
 2    bonehead -- and I told you I          2   about who spoke to Ed Butowsky, a
 3    wouldn't use bad words, but           3   good friend of his, and told him
 4    "bonehead" is not a terrible word.    4   that Julian Assange said Seth gave
 5         DEBORA GEORGATOS: It --          5   him the e-mails and to please
 6    it's okay.                            6   ask -- or Assange wanted Ellen to
 7         ED BUTOWSKY: Okay. A guy         7   go talk to Seth's parents, but
 8    named Isikoff. Until Isikoff --       8   instead she asked Ed and he did
 9         DEBORA GEORGATOS: Yeah.          9   it.
10         ED BUTOWSKY: -- a bonehead      10       So you have Assange
11    who says he's a reporter who's got   11   bizarrely interested in the Seth
12    no morals in reporting, he outed     12   Rich murder. You know, not even
13    her. And when he outed her, she      13   four weeks later you have Ellen
14    then said something that wasn't      14   Ratner saying, you know, that
15    true. She said she never told me     15   Julian Assange told her the
16    that.                                16   e-mails didn't come from the
17         Well, we now see videos and     17   Russians. And then the third
18    audio all over the place where she   18   quick point on Julian Assange is,
19    did.                                 19   he actually put out a -- an offer,
20         DEBORA GEORGATOS: She said      20   a reward, whatever it was, 20,
21    she never -- I didn't even realize   21   25,000, for any information about
22    she said it. But I'm going to        22   the murder of Seth Rich.
23    go -- because we have -- wonderful   23       Well, if Seth Rich wasn't
24    Matt -- we have a very quick clip    24   the source of those e-mails, why




                                                        11 (Pages 38 to 41)
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                                   Page 42                                      Page 44
 1    would Julian Assange possibly do        1   have no problem mentioning his
 2    that?                                   2   name and telling you exactly what
 3         Now, back to you, Ed.              3   happened. I called up David
 4         Okay. So I just -- I want          4   Weigel at The Washington Post.
 5    to keep making this point, Ed,          5   He's a senior person there. He
 6    because I am very bothered that         6   also was named, by the way, as one
 7    people don't want to know what's        7   of the leakers of some --
 8    true. And I'll tell you, it's           8   something had happened. I can't
 9    gotten to where in media -- it's        9   remember the whole story so I've
10    become the cool thing in media to      10   got to be careful.
11    roll your eyes about Seth Rich.        11       But what I don't have to be
12    Oh, my Gosh. Are you still on          12   careful about is happened with me.
13    that story? We've all moved past       13   I called him up and I went through
14    that.                                  14   everything that happened. And he
15         ED BUTOWSKY: Yeah.                15   said, Ed, that is absolutely
16         DEBORA GEORGATOS: It is --        16   amazing.
17    it is the idea --                      17       I said, Well, write it.
18         ED BUTOWSKY: Well --              18   Because nobody would write
19         DEBORA GEORGATOS: -- and          19   anything that I had to say. I
20    it's kind of the kind of tin foil      20   said, Write it.
21    hat. Are you one of those people?      21       He said, Well, let me run it
22    Conspiracy people? But the truth       22   by Brad.
23    is, facts exist. Like these            23       And I said, Brad? Brad who?
24    facts. And people who are denying      24       He said, Brad Bauman.
                                   Page 43                                      Page 45
 1    them or trying to hang on to the        1       And I said, Why do you have
 2    Russia, you know, hacked the DNC        2   to run this by Brad Bauman?
 3    don't want to deal with those           3       Well, Brad Bauman was a DNC
 4    facts.                                  4   crisis management person. He's a
 5        Okay. So you said you want          5   public relations person. And
 6    to talk about something.                6   David Weigel said, We have to run
 7        ED BUTOWSKY: Well, I want           7   everything by Brad before we print
 8    to address a few things about           8   it on this subject.
 9    that. So first of all, there is         9       This is The Washington Post.
10    information that will be coming        10       DEBORA GEORGATOS: On the
11    out very, very soon that all those     11   subject of Seth Rich.
12    people who rolled their eyes, they     12       ED BUTOWSKY: On the subject
13    can keep rolling their eyes and        13   of Seth Rich.
14    they can, you know, roll their         14       DEBORA GEORGATOS: They have
15    eyes to the unemployment line          15   to run it by a DNC person.
16    because -- because they're             16       ED BUTOWSKY: They have to
17    denying -- it's almost media           17   run it by a DNC person. Then I
18    malpractice.                           18   called up The New York Times.
19        I mean, if these people are        19   Emily Steel. She wrote something.
20    reporters, which most of them          20   I asked her -- Here's more
21    aren't, they're -- they're doing a     21   information.
22    terrible job. Let me make an           22       She said, They told us we
23    example.                               23   can't write about it anymore.
24        A guy named David Weigel. I        24       CNN, after I was on with




                                                           12 (Pages 42 to 45)
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 1    Cuomo and they said, Ed, send us      1        DEBORA GEORGATOS: Talk as
 2    the information. We'll have you       2   fast -- yes. Talk as fast as I
 3    back on. I called Cuomo, you          3   do. I grew up in New York.
 4    know, probably once every two         4        ED BUTOWSKY: Oh, my
 5    months. I sent e-mails. They          5   goodness.
 6    said, We've moved on. We have no      6        DEBORA GEORGATOS: I know.
 7    interest in the story.                7   I know.
 8        I -- I can go -- and then         8        ED BUTOWSKY: I grew up in
 9    Mediaite. The other day I got a       9   New York.
10    call from a really nice guy at       10        DEBORA GEORGATOS: All
11    Mediaite, gave him all this          11   right.
12    information. I've called him a       12        ED BUTOWSKY: Okay. So I'll
13    couple of times. He said, No.        13   talk fast.
14    We're not writing anything on it.    14        So when the story came out,
15        Why aren't you writing           15   Rod Wheeler read it. He read a
16    anything on it?                      16   quote --
17        DEBORA GEORGATOS: Yeah.          17        DEBORA GEORGATOS: Yeah.
18        ED BUTOWSKY: Because the         18        ED BUTOWSKY: -- that said,
19    truth goes against this              19   "'I have seen and read the e-mails
20    narrative --                         20   between Seth Rich and WikiLeaks,'
21        DEBORA GEORGATOS: The            21   said a federal investigator."
22    narrative, right.                    22        Rod Wheeler, such a fool,
23        ED BUTOWSKY: -- that these       23   thought that was him. It wasn't
24    liberal, deep state, whatever the    24   him. It was somebody else that
                                 Page 47                                    Page 49
 1    hell you want to call them, are       1   Malia Zimmerman had. He went out
 2    trying to support. But the truth      2   and went on television and said,
 3    is what we're talking about.          3   Fox misquoted me, so they pulled
 4        DEBORA GEORGATOS: Yeah.           4   the story. Fox did not misquote
 5        ED BUTOWSKY: And they're          5   him. Malia Zimmerman's article is
 6    doing everything they can to hold     6   exactly right. There's nothing
 7    on to this.                           7   wrong with it and nothing's ever
 8        DEBORA GEORGATOS: Well,           8   been proven to be wrong with it.
 9    even Fox ran a story and tried to     9       DEBORA GEORGATOS: Yeah.
10    lay this out, what you -- we have    10       ED BUTOWSKY: And -- and
11    been talking about. Laid out the     11   that story should be reinstated.
12    whole story. And they retracted      12   And people in the media should get
13    the story, right?                    13   behind and say, You know what?
14        ED BUTOWSKY: Well,               14   She wrote a great story. It is
15    there's -- there's -- let me         15   true. And that story should be
16    explain to you what they did.        16   reinstated.
17        DEBORA GEORGATOS: Okay.          17       DEBORA GEORGATOS: Here's
18        ED BUTOWSKY: Okay? And are       18   the problem. Where we are.
19    we okay because we're not -- look    19   Honestly, it is such a -- it has
20    at the time.                         20   become fact in the left wing
21        DEBORA GEORGATOS: Well,          21   world -- and I always call them
22    five to seven minutes.               22   the Democrat media mob -- it is a
23        ED BUTOWSKY: That's all we       23   fact that the Seth Rich thing was
24    have left?                           24   cooked up. In fact, a lot of the




                                                        13 (Pages 46 to 49)
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                                 Page 50                                   Page 52
 1    allegations -- even conservative      1   believe -- I'm sure that was the
 2    sources will say, Well, this          2   case. But there are conserve -- I
 3    really was cooked up. This whole      3   mean, websites I go to -- because
 4    story of Seth Rich and -- and the     4   I assume they're kind -- they are
 5    e-mails, it was cooked up             5   kind of conservative who are
 6    because -- by the Trump team to       6   recounting this. Oh, whole
 7    embarrass -- you know, to draw        7   Rich -- Seth Rich thing has been
 8    attention back to the Democrats.      8   debunked.
 9        ED BUTOWSKY: You know who         9        ED BUTOWSKY: Which one?
10    they said drew -- you know who       10   I'll call them.
11    they said made it up?                11        DEBORA GEORGATOS: Well,
12        DEBORA GEORGATOS: You.           12   Washington Examiner was one.
13        ED BUTOWSKY: Me.                 13   Washington Examiner, you know --
14        DEBORA GEORGATOS: Right.         14        ED BUTOWSKY: Washington
15    That's what I was going to ask       15   Examiner -- that's not -- that's
16    you. Do you know President Trump?    16   not what happened. The Washington
17        ED BUTOWSKY: I never met         17   Examiner had to pull back a story
18    President -- I -- this -- this guy   18   that -- that Admiral Lyons put up.
19    Wigdor -- who you'll start hearing   19   And -- because they were sued.
20    a lot more about real soon, trust    20        DEBORA GEORGATOS: July of
21    me -- a lawyer, had all these        21   this year?
22    lawsuits against Fox News and made   22        ED BUTOWSKY: They were sued
23    up a story that the president and    23   on something Admiral Lyons wrote.
24    Vladimir Putin were scared that      24   And --
                                 Page 51                                   Page 53
 1    people were on to their breaking      1        DEBORA GEORGATOS: Yeah.
 2    into the DNC, so they called me in    2        ED BUTOWSKY: -- I love Ace
 3    Dallas and asked me to create a       3   Lyons.
 4    fake story for them. So I             4        DEBORA GEORGATOS: Yeah.
 5    somehow -- I got ahold of Malia       5        ED BUTOWSKY: Ace Lyons was
 6    Zimmerman's mind --                   6   91 years old --
 7         DEBORA GEORGATOS: Yeah.          7        DEBORA GEORGATOS: Yeah.
 8         ED BUTOWSKY: -- convinced        8        ED BUTOWSKY: -- and a great
 9    her to write a story --               9   man. And a friend. And Ace wrote
10         DEBORA GEORGATOS: Eight         10   something. And the truth is, he
11    years of investigation, she said.    11   said one word that probably
12         ED BUTOWSKY: Right.             12   shouldn't have been there. But
13         DEBORA GEORGATOS: Yeah.         13   it's called an op-ed. Okay?
14         ED BUTOWSKY: And convinced      14        DEBORA GEORGATOS: Yeah.
15    her to write a story about this.     15        ED BUTOWSKY: I mean, op-ed
16    Got Rod Wheeler and convinced        16   is your own opinion. I mean, if
17    everybody -- even everyone at Fox    17   people can get sued over their
18    News -- convinced everybody to go    18   op-eds, I mean, Karl Rove better
19    along with this because we were      19   watch out. Okay? I mean, the
20    doing it for the President. I've     20   whole thing is ridiculous.
21    never met the president in my        21        But no. You have websites
22    life.                                22   that -- conservative or any
23         DEBORA GEORGATOS: Okay.         23   website -- I'll call them. I'd
24    But what's amazing -- and I          24   call up everybody. I'm just sick




                                                        14 (Pages 50 to 53)
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                                  Page 54                                             Page 56
 1    of this crap.                          1       up.
 2         DEBORA GEORGATOS: Yeah.           2           So, Ed, we're going to have
 3    Well, you know what we're going to     3       to finish this -- we're going to
 4    have to do? We are going to have       4       have to finish another time, Ed
 5    to come back and do this another       5       Butowsky. We're just going to
 6    time because I didn't -- I             6       have to do that because I've got
 7    didn't -- I want to get -- the         7       to hit one more quick story.
 8    basic thing I cared about is           8       Okay?
 9    making sure it's clear that no one     9           ED BUTOWSKY: Absolutely.
10    in the entire Mueller                 10           DEBORA GEORGATOS: Really
11    investigation, in the entire          11       fast. You can sit right there.
12    federal government, want to know      12              - - -
13    what really happened, want to hear    13          (End of audio file)
14    your story, want to hear Ellen        14              - - -
15    tell the story. And people got        15
16    just railroaded into thinking that    16
17    the -- it was kind of like the        17
18    virtue-signaling smart crowd --       18
19    well, we -- now everybody knows       19
20    now this, and so we -- we --          20
21    everyone knows you roll your eyes     21
22    about that.                           22
23         So I don't know how this         23
24    will -- but I -- I'm very             24
                                  Page 55                                             Page 57
 1    troubled -- number one, everyone       1             CERTIFICATE
 2    should want justice. The -- the        2
 3    goal of our system is justice. It      3
 4    is truth. It's finding truth. It       4            I HEREBY CERTIFY that the
 5    is not humoring the narrative.         5   foregoing was transcribed by me from an
 6         I think the American left,        6   audio file to the best of my ability.
 7    which I include pretty much the        7
 8    entire media in, they want             8
 9    nothing -- they -- they can hardly     9
10    stand the idea that Seth Rich's                Cindy Parker
11    murder might somehow be looked at     10       Dated: December 17, 2019
                                            11
12    from the perspective of, Oh, so he
                                            12
13    was the one who gave the e-mails
                                            13
14    from the DNC.                         14
15         ED BUTOWSKY: Right.              15             (The foregoing certification
16         DEBORA GEORGATOS: And once       16   of this transcript does not apply to any
17    he's that, well, then obviously       17   reproduction of the same by any means,
18    DNC -- somebody on their side had     18   unless under the direct control and/or
19    a motive for his murder, which is     19   supervision of the certifying reporter.)
20    unsolved -- they just can't stand     20
21    that publicity so that the easier     21
22    thing is to default or backpedal      22
23    into saying, you know, this is        23
24    silly. This is some guy cooked it     24




                                                               15 (Pages 54 to 57)
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                                                                     Page 1
             UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA

                           -   -   -

     AARON RICH,                   : Civil Action No.
                                   :
                   Plaintiff,      : 1:18-cv-00681
              v.                   :
                                   :
     EDWARD BUTOWSKY,              :
     MATTHEW COUCH, and            :
     AMERICA FIRST MEDIA,          :
                                   :
                   Defendants.     :



                           -   -   -

                   AUDIO TRANSCRIPTION

                           -   -   -



                  Audio transcription of
     voicemail from Ed Butowsky to Michael
     Gottlieb (March 28, 2018)."




                          - - -
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                                                                     Page 2
 1                        -    -   -

 2                    ED BUTOWSKY:      Mike, it's Ed

 3            Butowsky.       So I got this e-mail

 4            from you and -- I'm probably not

 5            even gonna hire a lawyer.          This is

 6            a stupid lawsuit.        And I think you

 7            and I should have a conversation

 8            since I'm pro se, I think is what

 9            they call it.        And I've got some

10            questions for you.

11            (972) 897-0197.

12                    And what -- it -- it says

13            here that I'm not allowed to

14            contact him, but who -- who says?

15            I mean, is there a law that says

16            because there's a lawsuit that I

17            can't contact him?        I don't really

18            know because I'm not a lawyer.

19                    But I'm not gonna waste any

20            money on -- on this, but I don't

21            know if you guys really know what

22            you're doing here.        I know this

23            sounds like kind of a crazy call

24            to you, but I don't think you're
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                                                                     Page 3
 1            well informed.       I really don't.

 2            Because I don't think anybody

 3            would bring this lawsuit against

 4            me.    So I just want to make sure

 5            you're well informed.

 6                    So give me a call.       I would

 7            love to talk to you.        I don't know

 8            what all the rules are, but you

 9            sent this to me and you're the one

10            that filed against me so...

11                    Look forward to talking to

12            you.    Bye.

13                         -   -   -

14                  (End of audio file)

15                         -   -   -

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Case 1:18-cv-00681-RJL Document 116-2 Filed 01/16/20 Page 85 of 85


                                                                     Page 4
 1                       CERTIFICATE
 2
 3
 4                     I HEREBY CERTIFY that the
 5   foregoing was transcribed by me from an
 6   audio file to the best of my ability.
 7
 8
 9
              Cindy Parker
10            Dated:    January 12, 2020
11
12
13
14
15                    (The foregoing certification
16   of this transcript does not apply to any
17   reproduction of the same by any means,
18   unless under the direct control and/or
19   supervision of the certifying reporter.)
20
21
22
23
24
